Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 1 of 93 Page ID #:1



 1   DOUGLAS J. FARMER, CA Bar No. 139646
     douglas.farmer@ogletree.com
 2   SARAH ZENEWICZ, CA Bar No. 258068
     sarah.zenewicz@ogletree.com
 3   OGLETREE, DEAKINS, NASH, SMOAK
     & STEWART, P.C.
 4   Steuart Tower, Suite 1300
     One Market Plaza
 5   San Francisco, CA 94105
     Telephone: 415.442.4810
 6   Facsimile: 415.442.4870
 7 Attorneys for Defendants
   IKEA NORTH AMERICA SERVICES,
 8 LLC; IKEA US RETAIL LLC; AND IKEA
   DISTRIBUTION SERVICES, INC.
 9
10                             UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12
   KYREE WILSON, RHONDA                               Case No. 2:20-CV-09075
13 GUERRERO, individually, and on behalf
   of other members of the general public             DEFENDANTS’ NOTICE OF
14 similarly situated,                                REMOVAL OF CIVIL ACTION TO
                                                      FEDERAL COURT PURSUANT TO
15               Plaintiffs,                          28 U.S.C. §§ 1332, 1441, 1446 AND
                                                      1453
16        v.
                                                      [Concurrently filed with Civil Cover
17 IKEA NORTH AMERICA SERVICES,                       Sheet; Certification of Interested Parties
   LLC, an unknown business entity; IKEA              and Disclosure Statements; Declaration
18 US RETAIL LLC, an unknown business                 of Christopher Blevins; and Notice of
   entity; IKEA DISTRIBUTION SERVICES                 Related Case]
19 INC., an unknown business entity; and
   DOES 1 through 100, inclusive;                     Complaint Filed: June 4, 2020
20
                 Defendants.
21

22

23

24

25

26

27

28
                                                                           Case No. 2:20-CV-09075
               DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                        PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 2 of 93 Page ID #:2



 1         TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2   DISTRICT OF CALIFORNIA, AND TO PLAINTIFFS AND THEIR
 3   COUNSEL OF RECORD:
 4         PLEASE TAKE NOTICE THAT defendants IKEA North America
 5   Services, LLC (“IKEA North America”), IKEA US RETAIL LLC (“IKEA US
 6   RETAIL”) and IKEA Distribution Services, Inc. (“IKEA Distribution”) (collectively,
 7   “Defendants”) remove this action from the Superior Court of the State of California
 8   for the County of Los Angeles, to the United States District Court for the Central
 9   District of California pursuant to 28 U.S.C. §§ 1332, 1441, 1446, and 1453. As
10   discussed below, this Court has original jurisdiction over this matter pursuant to the
11   Class Action Fairness Act (“CAFA”).
12   I.    PROCEDURAL BACKGROUND AND TIMELINESS OF REMOVAL
13         1.      On or about August 24, 2020, Plaintiffs Kyree Wilson and Rhonda
14   Guerrero (“Plaintiffs”) filed their Class Action Complaint for Damages
15   (“Complaint”) in the Superior Court of the State of California, County of Los
16   Angeles, entitled Wilson v. IKEA North America Services, LLC, Los Angeles
17   Superior Court case number 20STCV32154 (the “State Court Action”).
18         2.      A true and correct copy of the Complaint is attached as Exhibit A to
19   this Notice of Removal. The Complaint alleges ten causes of action: (1)Violation of
20   California Labor Code §§ 510 and 1198 (Unpaid Overtime); (2) Violation of
21   California Labor Code §§ 226.7 and 512(a) (Unpaid Meal Period Premiums); (3)
22   Violation of California Labor Code § 226.7 (Unpaid Rest Period Premiums); (4)
23   Violation of California Labor Code §§ 1194 and 1197 (Unpaid Minimum Wages);
24   (5) Violation of California Labor Code §§ 201 and 202 (Final Wages Not Timely
25   Paid); (6) Violation of California Labor Code § 204 (Wages Not Timely Paid During
26   Employment); (7) Violation of California Labor Code § 226(a) (Non-Compliant
27   Wage Statements); (8) Violation of California Labor Code § 1174(d) (Failure to
28   Keep Requisite Payroll Records); (9) Violation of California Labor Code §§ 2800
                                                2                           Case No. 2:20-CV-09075
                DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                         PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 3 of 93 Page ID #:3



 1   and 2802 (Unreimbursed Business Expenses); (10) Violation of California Business
 2   & Professions Code § 17200, et seq.
 3         3.      On September 2, 2020, Plaintiffs served Defendants with a copy of the
 4   Complaint, as well as other documents filed in the State Court Action. A true and
 5   correct copy of the Summons to each of the Defendants is attached hereto as
 6   Exhibits B, C and D. A true and correct copy of the other documents served by
 7   Plaintiffs with the Complaint and Summons is attached hereto as Exhibit E.
 8         4.      Copies of all other process, pleadings, and orders served by Plaintiffs or
 9   filed in Los Angeles Superior Court are attached hereto as Exhibit F.
10         5.      Plaintiffs have not yet identified any of the fictitious “Doe” defendants
11   identified in the Complaint and the citizenship of “Doe” defendants is disregarded
12   for the purposes of removal. 28 U.S.C. § 1441(a); McCabe v. Gen. Foods Corp., 811
13   F.2d 1336, 1339 (9th Cir. 1987).
14         6.      A defendant in a civil action has thirty (30) days from the date it is
15   served with a summons and complaint in which to remove the action to federal court.
16   28 U.S.C. § 1446(b); Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S.
17   344, 347-48 (1999). As Defendant’s registered agent for service of process were
18   served with the summons and Complaint on September 6, 2019, this Notice of
19   Removal is timely. 28 U.S.C. § 1446(b), see Fed. R. Civ. P. 6(a)(1)(C); Fleming v.
20   United Teachers Assocs. Ins. Co., 250 F. Supp. 2d 658, 661 (S.D. W.Va. 2003)
21   (removal petition was timely where 30th day after service fell on Thanksgiving and
22   removal petition was filed the following day); Johnson v. Harper, 66 F.R.D. 103
23   (E.D. Tenn. 1975) (removal was timely where 30th day after service fell on a
24   Saturday and removal was filed the following Monday).
25   II.   JURISDICTION UNDER THE CLASS ACTION FAIRNESS ACT
26         7.      This action is one over which this Court has original jurisdiction under
27   CAFA and is one which may be removed by Defendant pursuant to 28 U.S.C.
28   §§ 1441 and 1453, because the number of potential class members exceeds 100, the
                                                3                           Case No. 2:20-CV-09075
                DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                         PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 4 of 93 Page ID #:4



 1   parties are citizens of different states, and the amount in controversy exceeds the
 2   aggregate value of $5,000,000. See 28 U.S.C. §§ 1332(d)(2) and (d)(6).1
 3          A.      The Size of the Putative Class Exceeds 100 Members
 4          8.      In their Complaint, Plaintiffs define the proposed class as follows: “All
 5   current and former hourly-paid or non-exempt employees who worked for any of the
 6   Defendants within the State of California at any time during the period from four
 7   years preceding the filing of this Complaint to final judgment and who reside in
 8   California.” Ex. A, ¶ 16.
 9          9.      Defendants’ employment records show that there are over five thousand
10   current and former employees of IKEA US RETAIL who fall within Plaintiffs’
11   proposed class. Declaration of Christopher Blevins (“Blevins Decl.”), ¶ 3.
12          10.     Accordingly, the CAFA numerosity requirement is fulfilled because
13   there are more than 100 class members implicated in Plaintiff’s Complaint. 28
14   U.S.C. § 1332(d).
15          B.      The Diversity of Citizenship Requirement is Satisfied
16          11.     The minimal diversity requirement of 28 U.S.C. § 1332(d) is met in this
17   action because the Court need only find that there is diversity between one putative
18   class member and one defendant. 28 U.S.C. §§ 1332(d)(2), 1332(d)(5)(B), 1453(a).
19          12.     Citizenship of Defendant IKEA Distribution Services Inc. Pursuant to
20   28 United States Code § 1332(c), “a corporation shall be deemed to be a citizen of
21   any State by which it has been incorporated and of the State where it has its principal
22   place of business.” The United States Supreme Court established the proper test for
23   determining a corporation’s principal place of business for purposes of diversity
24   jurisdiction in The Hertz Corp. v. Friend, 130 S. Ct. 1181 (2010). The Supreme
25   Court concluded that the “‘principal place of business’ is best read as referring to the
26

27   1
       Defendants are the only named defendants in this matter and, thus, there are no other defendants
     to consent to removal. Even so, an action may be removed by a single defendant under CAFA
28   without the consent of the other defendants. See 28 U.S.C. § 1453(a).
                                                     4                             Case No. 2:20-CV-09075
                  DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                           PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 5 of 93 Page ID #:5



 1   place where a corporation’s officers direct, control, and coordinate the corporation’s
 2   activities.” Id. at 1184. The Court further clarified that the principal place of
 3   business is the place where the corporation “maintains its headquarters – provided
 4   that the headquarters is the actual center of direction, control, and coordination.” Id.
 5         13.      IKEA Distribution is a Delaware Corporation with its principal place of
 6   business in Conshohocken, Pennsylvania.
 7         14.      Thus, under 28 U.S.C. section 1332, IKEA Distribution is a citizen of
 8   Delaware and Pennsylvania and is not a citizen of California.
 9         15.      Citizenship of Defendants IKEA US RETAIL LLC and IKEA North
10   America Services, LLC. Pursuant to 28 U.S.C. § 1332(d)(10), “an unincorporated
11   association shall be deemed to be a citizen of the State where it has its principal
12   place of business and the State under whose laws it is organized.”
13         16.      IKEA US RETAIL is a Virginia limited liability company with its
14   principal place of business in Conshohocken, Pennsylvania.
15         17.      IKEA North America is a Virginia limited liability company with its
16   principal place of business in Conshohocken, Pennsylvania.
17         18.      Thus, under 28 U.S.C. section 1332, IKEA US RETAIL and IKEA
18   North America are citizens of Virginia and Pennsylvania and are not citizens of
19   California.
20         19.      Citizenship of Plaintiffs. For diversity purposes, an individual is a
21   “citizen” of the state in which he is domiciled. Kantor v. Wellesley Galleries, Ltd.,
22   704 F.2d 1088, 1090 (9th Cir. 1983). An individual’s domicile is the place he
23   resides with the intention to remain or to which he intends to return. Kanter v.
24   Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001).
25         20.      The Complaint alleges that “Plaintiff KYREE WILSON is an individual
26   residing in the State of California.” Ex. A at ¶ 5. The Complaint also alleges that he
27   is a member of a “California-based” class, which is defined as “current and former
28   employees . . . who reside in California.’ ” Ex. A at ¶ 16. Likewise, Defendants’
                                                 5                           Case No. 2:20-CV-09075
                 DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                          PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 6 of 93 Page ID #:6



 1   employment records confirm that throughout his employment, Plaintiff Wilson
 2   provided a California home address. Blevins Decl., ¶ 4. Thus, Plaintiff Wilson is a
 3   citizen of the State of California and domiciled in California.
 4         21.      The Complaint alleges that “Plaintiff RHONDA GUERRERO is an
 5   individual residing in the State of California.” Ex. A at ¶ 6. The Complaint also
 6   alleges that he is a member of a “California-based” class, which is defined as
 7   “current and former employees . . . who reside in California.’ ” Ex. A at ¶ 16.
 8   Likewise, Defendants’ employment records confirm that throughout her
 9   employment, Plaintiff Guerrero provided a California home address. Blevins Decl.,
10   ¶ 4. Thus, Plaintiff Guerrero is a citizen of the State of California and domiciled in
11   California.
12         22.      Members of the proposed class, who by definition are or were employed
13   in California, are presumed to be primarily citizens of the State of California. See,
14   e.g., Lew v. Moss, 797 F.2d 747, 750 (9th Cir. 1986) (“place of employment” an
15   important factor weighing in favor of citizenship). Thus, even if both Plaintiffs were
16   somehow citizens of Pennsylvania or Virginia (and there is no evidence that either
17   is), there is no possible way that the thousands of putative class members, all of
18   whom worked in California (Ex. A, ¶ 16), were also citizens of Pennsylvania or
19   Virginia.
20         23.      Accordingly, the minimal diversity requirement of 28 U.S.C. 1332(d) is
21   met in this action because Defendants and Plaintiffs are citizens of different states.
22         C.       The Amount in Controversy Exceeds an Aggregate of $5,000,000
23         24.      Plaintiff has not alleged a specific amount in controversy in the
24   Complaint. In order to remove a class action pursuant to CAFA, the amount in
25   controversy must exceed $5,000,000, and it is the removing party’s burden to
26   establish, “by a preponderance of evidence, that the aggregate amount in controversy
27   exceeds the jurisdictional minimum.” Rodriguez v. AT&T Mobility Servs. LLC, 728
28   F.3d 975, 981 (9th Cir. 2013). To do so, the removing defendant must “produce
                                                 6                           Case No. 2:20-CV-09075
                 DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                          PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 7 of 93 Page ID #:7



 1   underlying facts showing only that it is more likely than not that the amount in
 2   controversy exceeds $5,000,000.00, assuming the truth of the allegations plead in the
 3   Complaint.” Muniz v. Pilot Travel Ctrs. LLC, No. 2007 WL 1302504, at *5 (E.D.
 4   Cal. May 1, 2007) (emphasis in original).
 5         25.      In considering the evidence submitted by the removing defendant, the
 6   Court must “look beyond the complaint to determine whether the putative class
 7   action meets the [amount in controversy] requirements” adding “the potential claims
 8   of the absent class members” and attorneys’ fees. Rodriguez, 728 F.3d at 981 (citing
 9   Standard Fire Ins. Co. v. Knowles, 133 S.Ct. 1345 (2013)); Guglielmino v. McKee
10   Foods Corp., 506 F.3d 696, 705 (9th Cir. 2007). Furthermore, “[i]n considering
11   whether the amount in controversy is clear from the face of the complaint, a court
12   must assume that the allegations of the complaint are true and that a jury will return a
13   verdict for the plaintiff on all claims made in the complaint.” Altamirano v. Shaw
14   Indus., Inc., 2013 WL 2950600, at *4 (N.D. Cal. June 14, 2013) (citing Korn v. Polo
15   Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1205 (E.D. Cal. 2008)); see also Muniz,
16   2007 WL 1302504, at *3.
17         26.      While Defendant denies the validity of Plaintiff’s claims and requests
18   for relief, and does not concede in any way that the allegations in the Complaint are
19   accurate, that Plaintiff’s claims are amenable to classwide treatment, or that Plaintiff
20   or the purported class are entitled to any of the requested relief, the allegations in the
21   Complaint show it is more likely than not that the amount in controversy exceeds the
22   jurisdictional minimum. See Guglielmino, 506 F.3d at 700.
23         27.      In determining the amount in controversy to support its Notice of
24   Removal, Defendant relies here on a conservative estimate of the amount in
25   controversy based on damages and attorneys’ fees sought by Plaintiff as a result of
26   the alleged: (1) unpaid overtime; (2) unpaid meal break premiums; and (3) unpaid
27   minimum wage.
28
                                                 7                           Case No. 2:20-CV-09075
                 DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                          PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 8 of 93 Page ID #:8



 1                  1.     The Amount Placed in Controversy by Plaintiff’s Unpaid
                           Overtime Claim Exceeds $6,030,000
 2
           28.      In their First Cause of Action, Plaintiffs allege, “During the relevant
 3
     time period set forth herein, Defendants intentionally and willfully failed to pay
 4
     overtime wages owed to Plaintiffs and other class members.” Ex. A, ¶ 57. Plaintiffs
 5
     also allege that “Defendants engaged in a pattern and practice of wage abuse against
 6
     their hourly-paid or non-exempt employees in the State of California” and the
 7
     “pattern and practice involved . . . failing to pay them for all . . . overtime wages
 8
     earned[.]” Ex. A, ¶ 29. Finally, Plaintiffs allege that Defendants have “policies and
 9
     practices of requiring employees, including Plaintiffs and the other class members, to
10
     work overtime without paying them proper compensation[.]” Ex. A, ¶ 118.
11
           29.      Labor Code Section 1194(a) provides: “Notwithstanding any agreement
12
     to work for a lesser wage, any employee receiving less than . . . the legal overtime
13
     compensation applicable to the employee is entitled to recover in a civil action the
14
     unpaid balance of the full amount of this . . . overtime compensation, including
15
     interest thereon, reasonable attorney’s fees, and costs of suit.”
16
           30.      Plaintiffs also allege that the unpaid overtime constitutes unfair
17
     competition within the meaning of the UCL (Ex. A, ¶¶ 118, 119) and therefore
18
     applicable statute of limitations for the unpaid overtime claim is four years. Bus. &
19
     Prof. Code § 17208 (“Any action to enforce any cause of action pursuant to this
20
     chapter shall be commenced within four years after the cause of action accrued”);
21
     Cortez v. Purolator Air Filtration Prods. Co., 23 Cal. 4th 163, 178-179 (2000) (the
22
     four-year statute of limitations applies to any UCL claim, notwithstanding that the
23
     underlying claims have shorter statutes of limitation).
24
           31.      Based on Defendants’ records, the minimum number of putative class
25
     members at IKEA US RETAIL during the period from January 1, 2017, through
26
     December 31, 2019 is 5,000 and they worked at least 360,000 workweeks during that
27
     same period. Blevins Decl., ¶ 3. During 2017, the minimum wage rate in California
28
                                                 8                           Case No. 2:20-CV-09075
                 DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                          PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 9 of 93 Page ID #:9



 1   was $10.50, it rose to $11.00 in 2018, and to $12.00 in 2019. IWC MW-2019,
 2   Minimum Wage Order. Therefore, Defendant reasonably assumes that the overtime
 3   rate for putative class members in 2017 was at least $15.75, $16.50 in 2018 and
 4   $18.00 in 2019.
 5         32.      Defendants’ conservative calculation of the amount in controversy for
 6   Plaintiffs’ unpaid overtime claim is $6,030,000, calculated as follows:
 7

 8                  Year          Overtime Rate        Workweeks               AIC
 9                  2017               $15.75             120,000       $1,890,000.00
10                  2018               $16.50             120,000       $1,980,000.00
11                  2019               $18.00             120,000       $2,160,000.00
12

13         33.      The above computation of the amount in controversy is based on
14   conservative estimates that there was an average of one hour of unpaid overtime
15   premium unpaid in 360,000 workweeks by putative class members during the class
16   period and that that their pay rates were at least the applicable minimum wage.
17   Blevins Decl., ¶ 3.
18         34.      Defendants’ estimate of one unpaid hour of overtime during just a portion
19   of the workweeks for a portion of the class during a portion of the putative class period
20   is reasonable because an estimate of one hour of unpaid overtime for every week of
21   work for every employee during a putative class period has been accepted by the
22   federal courts as a reasonable and conservative figure for calculating the amount in
23   controversy. See Jasso v. Money Mart Express, Inc., 2012 WL 699465, at *5-6 (N. D.
24   Cal. Mar. 1, 2012) (holding that calculating at least one violation per week was a
25   “sensible reading of the alleged amount in controversy”); Ray v. Wells Fargo Bank,
26   N.A., 2011 WL 1790123, at *6-7 (C.D. Cal. May 9, 2011). This is especially the case
27   where, as here, Plaintiffs fail to provide specific allegations concerning the frequency
28   of which he worked overtime without being provided the requisite compensation. See
                                                 9                           Case No. 2:20-CV-09075
                 DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                          PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 10 of 93 Page ID #:10



  1   Byrd v. Masonite Corp., 2016 WL 2593912, at *5 (C.D. Cal. May 5, 2016).
  2                  2.     The Amount Placed in Controversy by Plaintiffs’ Meal Break
                            Claims Exceeds $4,020,000
  3

  4         35.      In their Second Cause of Action, Plaintiffs allege that they “and the
  5   other class members . . . were required to work for periods longer than five (5) hours
  6   without an uninterrupted meal period of not less than thirty (30) minutes,” that they
  7   were also required to work more than six hours without meal periods, and that
  8   “Defendants intentionally and willfully required Plaintiffs and other class members
  9   to work during meal periods,” and that Defendants did not pay meal period
 10   premiums. Ex. A, ¶¶ 65-67. Plaintiffs allege that Defendants had “policies and
 11   practices” requiring Plaintiffs and the putative class members to work during their
 12   meal periods. Ex. A, ¶ 118. Plaintiffs allege that this is a “pattern and practice of
 13   wage abuse” that “involved . . . failing to pay [putative class members] for all . . .
 14   missed meal periods.” Ex. A, ¶ 29.
 15         36.      Under California law, employees who miss meal periods are entitled to
 16   one hour of premium pay for each day that a meal or a rest period is missed. See
 17   Marlo v. United Parcel Serv., Inc., 2009 WL 1258491, at *7 (C.D. Cal. May 5,
 18   2009). Meal period claims are properly considered in determining the amount in
 19   controversy. See, e.g., Muniz, 2007 WL 1302504, at *4; Helm v. Alderwoods Grp.,
 20   Inc., 008 WL 2002511, at *8 (N.D. Cal. May 7, 2008). Plaintiffs also allege that the
 21   failure to pay meal break premiums constitutes unfair competition within the
 22   meaning of the UCL (Ex. A, ¶ 118) and therefore applicable statute of limitations for
 23   the meal break claim is four years. Bus. & Prof. Code § 17208.
 24         37.      Based on Defendants’ records, the minimum number of putative class
 25   members at IKEA US RETAIL during the period from January 1, 2017, through
 26   December 31, 2019 is 5,000 and they worked at least 360,000 workweeks during that
 27   same period. Blevins Decl., ¶ 3. During 2017, the minimum wage rate in California
 28   was $10.50, it rose to $11.00 in 2018, and to $12.00 in 2019.
                                                 10                           Case No. 2:20-CV-09075
                  DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                           PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 11 of 93 Page ID #:11



  1         38.      Defendants’ conservative calculation of the amount in controversy for
  2   Plaintiffs’ meal break claims is $4,020,000 calculated as follows:
  3

  4                Year         Minimum Wage Rate Workweeks                       AIC
  5                2017                  $10.50               120,000       $1,260,000.00
  6                2018                  $11.00               120,000       $1,320,000.00
  7                2019                  $18.00               120,000       $1,440,000.00
  8

  9         39.      The computation of the amount in controversy is based on conservative
 10   estimate of just one meal break violation in each of the 360,000 workweeks and that
 11   putative class members earned at least the applicable minimum wage.
 12         40.      Defendants’ estimate of one meal break premium during just a portion
 13   of the workweeks for a portion of the class during a portion of the putative class
 14   period is reasonable because a violation rate of one meal break violation per
 15   workweek for every putative class member for every workweek during a putative
 16   class action period is generally accepted as a reasonable and conservative assumption
 17   when calculation the amount in controversy for CAFA purposes. See, e.g., Mendoza
 18   v. Savage Servs. Corp., 2019 WL 1260629, at *2 (C.D. Cal. Mar. 19, 2019) (holding
 19   in a case involving the same Plaintiff’s counsel that “courts in [the Central District]
 20   routinely apply a 20% violation rate—that is, one missed mean and rest period per
 21   work week—for meal and rest period premiums”); Mortley v. Express Pipe & Supply
 22   Co., 2018 WL 708115, at *4 (C.D. Cal. Feb. 5, 2018) (finding defendants
 23   assumption that class members missed two meal periods and two rest periods each
 24   per week based on allegations of “a company-wide policy and/or practice of
 25   understaffing” was reasonable); Stanley v. Distribution Alts., Inc., 2017 WL
 26   6209822, at *2 (C.D. Cal. Dec. 7, 2017) (accepting assumed violation rates of “three
 27   missed rest breaks, and three missed meal breaks per week” where the complaint
 28   offered no guidance as to the frequency of the alleged violations); Alvarez v. Office
                                                 11                           Case No. 2:20-CV-09075
                  DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                           PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 12 of 93 Page ID #:12



  1   Depot, Inc., 2017 WL 5952181, at *3 (C.D. Cal. Nov. 30, 2017) (finding 60%
  2   violation rate reasonable where the complaint “alleges a uniform practice of meal
  3   and rest period violations.”); Francisco v. Emeritus Corp., 2017 WL 2541401, at *6
  4   (C.D. Cal. June 12, 2017) (finding defendants’ estimation of one violation per work
  5   week for both meal and rest breaks reasonable and conservative because plaintiff
  6   alleged violations occurred as “a pattern and practice”); Byrd v. Masonite Corp.,
  7   2016 WL 2593912, at *5 (C.D. Cal. May 5, 2016) (court found defendant’s
  8   assumption that each putative class member missed one meal break and one rest
  9   period per workweek based on policy and practice allegations reasonable).
 10                  3.     The Amount Placed in Controversy by Plaintiffs’ Unpaid
                            Minimum Wage Claim Exceeds $8,040,000
 11

 12         41.      In their Fourth Cause of Action, Plaintiffs allege “Defendants failed to
 13   pay minimum wages to Plaintiff and other class members as required[.]” Ex. A, ¶
 14   82. They seek to recover the unpaid minimum wage and “liquidated damages in an
 15   amount equal to the wages unlawfully unpaid[.]” Ex. A, ¶¶ 85. Plaintiffs allege that
 16   the failure to pay minimum wage is part of a “pattern and practice of wage abuse”
 17   and that Defendant have “policies and practices of failing to pay minimum wage.”
 18   Ex. A, ¶¶ 29, 118.
 19         42.      Labor Code section 1194(a) provides: “Notwithstanding any agreement
 20   to work for a lesser wage, any employee receiving less than the legal minimum wage
 21   . . . is entitled to recover in a civil action the unpaid balance of the full amount of
 22   this minimum wage . . . , including interest thereon, reasonable attorney’s fees, and
 23   costs of suit.” Labor Code section 1194.2 provides that in any action “to recover
 24   wages because of the payment of a wage less than the minimum wage . . . an
 25   employee shall be entitled to recover liquidated damages in an amount equal to the
 26   wages unlawfully unpaid[.]”
 27         43.      Plaintiffs also allege that the failure to pay minimum wage constitutes
 28   unfair competition within the meaning of the UCL (Ex. A, ¶ 118) and therefore
                                                 12                           Case No. 2:20-CV-09075
                  DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                           PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 13 of 93 Page ID #:13



  1   applicable statute of limitations for the minimum wage claim is four years. Bus. &
  2   Prof. Code § 17208.
  3         44.      Based on Defendants’ records, the minimum number of putative class
  4   members at IKEA US RETAIL during the period from January 1, 2017, through
  5   December 31, 2019 is 5,000 and they worked at least 360,000 workweeks during that
  6   same period. Blevins Decl., ¶ 3. During 2017, the minimum wage rate in California
  7   was $10.50, it rose to $11.00 in 2018, and to $12.00 in 2019.
  8         45.      Defendant’s conservative calculation of the amount in controversy for
  9   Plaintiff’s unpaid minimum wage claim is $8,040,000, which includes $4,020,000 in
 10   unpaid minimum wages and $4,020,000 in liquidated damages, calculated as
 11   follows:
 12

 13                Year         Minimum Wage Rate Workweeks                       AIC
 14                2017                  $10.50               120,000       $2,520,000.00
 15                2018                  $11.00               120,000       $2,640,000.00
 16                2019                  $18.00               120,000       $2,880,000.00
 17

 18         46.      The computation of the amount in controversy is based on conservative
 19   estimate of just one hour of unpaid overtime on average during the 360,000
 20   workweeks and that putative class members earned at least the applicable minimum
 21   wage. Defendants’ estimate of one unpaid hour of minimum wage in controversy
 22   during just a portion of the workweeks for a portion of the class during a portion of
 23   the putative class period is reasonable and conservative.
 24                  4.     Attorneys’ Fees
 25         47.      Plaintiffs seek to recover attorneys’ fees on behalf of the putative class
 26   on their claims for unpaid overtime, unpaid minimum wage and meal break
 27   violations. Ex. A, ¶¶ 59, 83, 121; Prayer for Relief ¶ 8, 15, 27, 56. Attorneys’ fees
 28   may properly be included in determining the amount in controversy. See, e.g.,
                                                 13                           Case No. 2:20-CV-09075
                  DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                           PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 14 of 93 Page ID #:14



  1   Lowdermilk v. US Bank Nat’l Assoc., 479 F.3d 994, 1000 (9th Cir. 2007) (holding
  2   that statutorily-mandated attorneys’ fees are properly included in the amount in
  3   controversy for CAFA jurisdiction purposes).
  4         48.      For class actions, 25% of the common fund is a benchmark rate for
  5   attorneys’ fees in this Circuit. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th
  6   Cir. 1998) (“This circuit has established 25% of the common fund as a benchmark
  7   award for attorney fees”); see also Giannini v. Northwestern Mut. Life Ins. Co., 2012
  8   WL 1535196, at *4 (N.D. Cal. 2012) (holding that defendant’s inclusion of
  9   attorneys’ fees to satisfy amount in controversy was reasonable where defendants
 10   “base this amount by multiplying by twenty-five percent the sum of the amounts
 11   placed in controversy by the four claims” asserted by plaintiff.).
 12         49.      Twenty-five percent of the total potential award for just three years of
 13   the overtime, unpaid minimum wage and meal break penalty claims outlined above
 14   is $4,522,500.
 15                  5.     Summary of the Amount Placed In Controversy
 16         50.      As described above, a reasonable and conservative estimate of the
 17   amount placed in controversy by Plaintiffs’ claims for unpaid overtime, meal break
 18   premiums, and unpaid minimum wages exceeds $5,000,000.
 19

 20                                Claim                          Amount in
 21                                                              Controversy
 22                       Unpaid Overtime Claim                   $6,030,000
 23                          Meal Break Claim                     $4,020,000
 24                   Unpaid Minimum Wage Claim                   $8,040,000
 25                           Attorneys’ Fees                     $4,522,500
 26                                 Total                        $22,612,500
 27

 28         51.      Consequently, the amount placed in controversy by Plaintiff’s claims
                                                 14                           Case No. 2:20-CV-09075
                  DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                           PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 15 of 93 Page ID #:15



  1   exceeds the $5,000,000 jurisdictional threshold of 28 U.S.C. § 1332(d).
  2   III.   THE PROCEDURAL REQUIREMENTS OF 28 U.S.C. § 1146 ARE
             SATISFIED
  3
             52.      In accordance with 28 U.S.C. §1446(a), this Notice of Removal is filed
  4
      in the District in which the action is pending. The Los Angeles County Superior
  5
      Court is located within the Central District of California. Therefore, venue is proper
  6
      in this Court because it is the “district and division embracing the place where such
  7
      action is pending.” 28 U.S.C. § 1441(a).
  8
             53.      In accordance with 28 U.S.C. §1446(a), copies of all process, pleadings,
  9
      and orders served upon Defendant are attached as Exhibits to this Notice.
 10
             54.      In accordance with 28 U.S.C. §1446(d), a copy of this Notice is being
 11
      served upon counsel for Plaintiffs, and a notice will be filed with the Clerk of the
 12
      Superior Court of California for the County of Los Angeles. Notice of compliance
 13
      shall be filed promptly afterwards with this Court.
 14
             55.      As required by Federal Rule of Civil Procedure 7.1 and Local Rule 7.1-
 15
      1, Defendants concurrently filed their Certificate of Interested Parties.
 16
             WHEREFORE, Defendants removes the above-captioned action to the United
 17
      States District Court for the Central District of California.
 18

 19
      DATED: October 2, 2020                         OGLETREE, DEAKINS, NASH, SMOAK
 20                                                  & STEWART, P.C.
 21

 22
                                                     By: /s/ Sarah Zenewicz
 23                                                      Douglas J. Farmer
                                                         Sarah Zenewicz
 24
                                                     Attorneys for Defendants
 25                                                  IKEA NORTH AMERICA SERVICES,
                                                     LLC; IKEA US RETAIL LLC; AND IKEA
 26                                                  DISTRIBUTION SERVICES, INC.
 27

 28                                                                                          44275247.2

                                                  15                           Case No. 2:20-CV-09075
                   DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                            PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446 AND 1453
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 16 of 93 Page ID #:16




                          EXHIBIT A


                                                                                 16
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 17 of 93 Page ID #:17




                                                                         EXH A pg. 1
                                                                                 17
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 18 of 93 Page ID #:18




                                                                          EXH A pg. 2
                                                                                 18
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 19 of 93 Page ID #:19




                                                                          EXH A pg. 3
                                                                                 19
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 20 of 93 Page ID #:20




                                                                          EXH A pg. 4
                                                                                 20
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 21 of 93 Page ID #:21




                                                                          EXH A pg. 5
                                                                                 21
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 22 of 93 Page ID #:22




                                                                          EXH A pg. 6
                                                                                 22
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 23 of 93 Page ID #:23




                                                                          EXH A pg. 7
                                                                                 23
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 24 of 93 Page ID #:24




                                                                         EXH A pg. 8
                                                                                 24
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 25 of 93 Page ID #:25




                                                                          EXH A pg. 9
                                                                                 25
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 26 of 93 Page ID #:26




                                                                         EXH A pg. 10
                                                                                 26
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 27 of 93 Page ID #:27




                                                                         EXH A pg. 11
                                                                                 27
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 28 of 93 Page ID #:28




                                                                         EXH A pg. 12
                                                                                 28
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 29 of 93 Page ID #:29




                                                                         EXH A pg. 13
                                                                                 29
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 30 of 93 Page ID #:30




                                                                         EXH A pg. 14
                                                                                 30
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 31 of 93 Page ID #:31




                                                                         EXH A pg. 15
                                                                                 31
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 32 of 93 Page ID #:32




                                                                         EXH A pg. 16
                                                                                 32
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 33 of 93 Page ID #:33




                                                                         EXH A pg. 17
                                                                                 33
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 34 of 93 Page ID #:34




                                                                         EXH A pg. 18
                                                                                 34
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 35 of 93 Page ID #:35




                                                                         EXH A pg. 19
                                                                                 35
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 36 of 93 Page ID #:36




                                                                         EXH A pg. 20
                                                                                 36
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 37 of 93 Page ID #:37




                                                                         EXH A pg. 21
                                                                                 37
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 38 of 93 Page ID #:38




                                                                         EXH A pg. 22
                                                                                 38
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 39 of 93 Page ID #:39




                                                                         EXH A pg. 23
                                                                                 39
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 40 of 93 Page ID #:40




                                                                        EXH A pg. 24
                                                                                 40
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 41 of 93 Page ID #:41




                                                                         EXH A pg. 25
                                                                                 41
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 42 of 93 Page ID #:42




                                                                         EXH A pg. 26
                                                                                 42
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 43 of 93 Page ID #:43




                                                                         EXH A pg. 27
                                                                                 43
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 44 of 93 Page ID #:44




                           EXHIBIT B


                                                                                 44
   Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 45 of 93 Page ID #:45
                                                                                                    sEp ) 2             20
                                                                                                                                                      SUM-100
                                        SUMMONS                                                                         (
                                                                                                                           FOR COURT USE ONLY
                                                                                                                         SOW PRA VS0DE LA CORTE)
                                    (CIrACION JUDICIAL)
                                                                                                                   CONFORMED COPY
 NOTICE TO DEFENDANT:                                                                                                      FILED
(AVISO AL DEMANDADO):                                                                                                ORIGINAL California
                                                                                                                  Superior Court ofAngeles
  IKEA NORTH AMERICA SERVICES, LLC,an unknown business                                                              County of Los
  entity; "Additional Parties Attachmentform is attached."
                                                                                                                             AUG 24 ZOZO
 YOU ARE BEING SUED BY PLAINTIFF:                                                                                                         1,111Csaft.ICEK at taw
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                         Sherri It      teli 4..Aaur

                                                                                                                                                    , Deputy
  KYREE WILSON,RHONDA GUERRERO,individually, and on behalf'                                                   By
                                                                                                                           iit-fwer Drew
  of other members of the general public similarly situated;
  NOTICE! You have been sued. The court may decide:againit you without your being heard unless you respond within 30 days. Read the information
  below.
     You ha 30 CALENDAR DAYS -after'this surnmenandlegal papers Eire served on you to file a written response at this court and have a copy
  served on the plaintiff..A.letter or phone call will not.prOtect you. Your,vvritten response, Must be in properlegal form If you.want the court to hear your
  case. Theremay he a cwtform that you can Use for your response. You can find these court fit:Irma and more Information attheCelifomla Courts
  Online Self-Help Center(www.courtinfo.ca.gov/seffhelp)-, your countylaw library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do no-1'0E11.w response on tithe, you may losethe case by default, and your wages, money, and property
  may be taken without further warning from the court
      There are other legal requirements. You may wantto cern attorney right away. If you do not know an attorney, you maywant to call an attorney
  referral service. If you cannot afford an attorney; you may be'ellgible forfree legal services from a nonprofit legal services program, You can locate
  these nonprofit groups at the California Legal Services Web stte-(www.lawhefpcalifornle.org),the California Courts Qnfine Self-Help Center
 (www.courfinfo.ce,govisellhelp), or by contacting youriocal court or county bar association. NOTE:.The court has estatutory lien for Waived fees and
  costs on any settlement or arbitration award of$10,000 or more'in a cMI case. The court's lien must be paid before the courtwill dismiss the case,
  plt001 Lo hen demandado. St no respond°',lenge de 30.dies,.fa code puede.deeldir en su contra sin escuchar au'version. Lea Is infonnacien a
  continuaciOn.
     Tlene ,30 DIAS DE CALENDARIO deap.ues de gOe Ic entreguen este e/(ecidaYpepeies legates porn presenterone respuesta per escrito en este
  code y tracer qua se entregue una mole al demander)       . hi Line carte a Oa barnacle telefonlea no le profegen. Sr/swot/este par escrito dens que ester
  en fermate legal correct* sf detee quo procesen su case en la cods. Es posible que.heya tin forniularia qua usted puede user pore s        . u respueste,
  Puede encontrer estos formularies de la coda y            Infonnecien en or Centro.de Akuda dales Cortei de California (wN/W.,autarte.da,gov), enla.
  bibliefects de byes de au condado o en to code qua to quede Ma's Germ 51/x4418de pagerlacuota de presentacidn,                    alsecrefarfo de le code
  qua le dawn forme/ado de exenclen de page de coolest, Stno piesenta so respueste a tiempo, puedaperdereleaso par incumplimiento y(a code To
  podia guitar so welder, diner° y bienes sin :nes.achterfenofe.
    Hay otros requisites legates. Ea recomendablaquellame a on abogeddinmedlatementa. Sine conoce a on above°, puede liarnare un servicio
  rendslan a ebegados: SI no puede pager a tin Owed& es posIbleoue compia con los-requisites pare obtener servIclos legates gratultes de un
  pro tame servicloa legalas sin fines de luorp. Puede encentier astosgrupes sin fines de lucre en WO web de California Legal Services,
 (www.lawhelocalifocnia.oro), on of Centro do Ayuda de les Cortesde California,(www.sucorte.ca.gov)o pohlandose en contact() con la aorta oaf
  cote& de abogados locales. AVISO:Parley, la code Ilene clarecho.a recle.marlas coatis y los castes exentos per importer on gravamen sabre
  ctralquier recuperaciOn de $10,000d Ms de valor recibidemedlepte tin Otuerdo euns concesiOn de arbitnAle en tin case de derecho civil. Ilene qua
  pager el gravamen dais code antes de qua la:corte puede desecherel caso.
 The name and addrese.ofthe court is:                                                                      CASE NUMESER:
(El nombre y direccien de le carte es):                                                                            "caEOSICV3215.4
                                                                                                           114(imar°
 Superior Court ofthe State of California:for the County ofLOS Angeles
 Stanley Mask Courthouse, 111 N. Hill Street, Los Angeles,,CA 90012
 The name, address, and telephone number of plaintiff% attorney; or plaintiff without an attorney, is:
(El nombre, Ia direcolan y el ntimero de teleena.del abogado deldemandente,.o del dernandente qua no done abogado, es):
  Edwin Alwazian; 410 West Arden Avenue,Sae 203,Glendale, California 91201;(818)265-1020
 DATE:           AUG a, 4 2ON       Sherri HiCartar, Clerk           Clerk, by                                                                         , Deputy
(Feche)                                                              (Secretario)                         STEVEN OREW                                  (Adjunfo)
(For proof ofservice of this summons, use Prootof Seryice. of Summons (form POS-010).)
(Pare pruebe de entrege de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                 NOTICE TO THE PERSON SERVED:You are served
 (SEAL]
                                 1. = as an individual defendant
                                 2.       as the person sued under the fictitious name of (specify):

                                                                   (  -----
                                                                       f _,
                                                  on behalf of(specify)f-
                                                                               Kc____ ,(4A0.
                                                                                  _s      -J
                                                                                             rrh (I-4 1 enr -d's
                                                                                                                                                       l



                                           under:(r1<- CCP 416.10 (corporation)              -1 1 CCP 416.60(minor)
                                                  ED CU 416.20(defunct corporation)           n1 CCP 416,70(conservatee)
                                                   r—i CCP 416.40(association or partnership)               71
                                                                                                  CCP 416,90(authorized person)
                                                   1 _1—other (specify):
                                                  by personal delivery on (date):  r--c---- SEP 0 2 2021 '                                                 Poo 1 of 1
  Form Adopted for Mandatory Use                                        SUMMONS                                                   Code of0,4Procedure 55 412.20,465
   ..NOlcial Cooney of California                                                                                                               www.coartinfacagov
   501$1.105 OW.July-1,2000)

                                                                                                                                                           EXH B pg. 1
                                                                                                                                                                        45
     Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 46 of 93 Page ID #:46


                                                                                                                             SUM-200(A)



L
                                                                                              CASE NUMBER:
    SHORT TITLE:
     Wilson, et al. vs. Ikea North America Services, LLC,et al.

                                                        INSTRUCTIONS FOR USE
   4 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
   3 If this attachment is used, insert the following statement In the plaintiff or defendant box on the summons:"Additional Parties
     Attachment form is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

     IT Plaintiff               r7 Defendant    El Cross-Complainant      r7 Cross-Defendant

    IKEA US RETAIL LLC,an unknown business entity; IKEA DISTRIBUTION SERVICES INC.; an
    unknown business entity; and DOES 1 through 100, inclusive,




                                                                                                                Page     1     of       1
                                                                                                                                    Page 1 of 1
 Form Adopted for Mandatory Lisa
   Judicial Council of California              ADDITIONAL PARTIES ATTACHMENT
SUM-200(A)[Roe. January 1,2007)                      Attachment to Summons
                                                                                                                               EXH B pg. 2
                                                                                                                                             46
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 47 of 93 Page ID #:47




                           EXHIBIT C


                                                                                 47
   Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 48 of 93 Page ID #:48

                                                                                                  'SEP 0 2 2010
                                                                                                                                               SUM-100
                                       SUMMONS                                                                  (
                                                                                                                   FOR COURT USE ONLY
                                                                                                                 SOLO PAPAW()OE LA CORTE)
                                   (CITACION JUDICIAL)
                                                                                                              CONFORMED    COPY
 NOTICE TO DEFENDANT:-                                                                                          IRIGINAL FILED
 (AVISO AL DEMANDADO):                                                                                          O              California
                                                                                                            S uperior Court otAngeles
                                                                                                               County  of Los
  IKEA NORTH AMERICA SERVICES,LLC,an unknown business
 entity; "Additional Parties Attachment form is attached."
                                                                                                                     At313 24 ZOZO
 YOU ARE BEING SUED BY PLAINTIFF:
                                                                                                                     leti l qmu   ur ricerruerk of testi
(LO esrA DEMANDANDO EL DEMANDANTE):                                                                    Sherri KA •
                                                                                                                                            ,Deputy
  KYREE WILSON,RHONDA GUERRERO,individually, and on behalf                                               By
                                                                                                                     Steven Draw
  of other members of the general public similarly situated;
   NOTICE! You have bean sued. The court may decIdeagelnal you without your being hoard unless you respond.within 30 days. Read the Information
  below.
     You have 30 CALENDAR DAYS-after this surameneandlegal papers ereserved on you to file a written response at this court and have a copy
  served on the plaintiff. A.letter or phone call MI notpretest you. Yourwdtten response Must be in proper legalform if you.want the court to hear your
  ease, There•may he a spurtform that you can use for your response. You can find these court forms and more information Wife California Courts
  Online Self-Help Center(www.court(nfo,ca,goviselgiefp), your countylaw library,, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do notfileyour response ontfine, you may losethe case by default, and your wages, money, and property
   may be taken without further warning from the court.
      There are other legal requirements. You may want to -callen attorney right away. Rpm do not know an attorney, you maywarrt to call an .alterney
  referral service. If you cannot afford an attorney; you may bealigIble for.free legal servicea from a nonprofit legal services program, You can locate
   these nonprofit groups at the California Legal Services Web slte(www.lawhelpcal/fornla.ora theCalifornia Courts Online Self-Help Center
 (www.coortinfo.segoviselfhelp), Or by contacting yourlocal court or county bar association. NOTE: The court has estatutory lien for Waived fees and
  costs on any settlement or arbitration award of:S*10,000 or more ln a akin case. The court's lien Must be paid before the courtwill dismiss the case.
  IAVIS01 Le hen demanded°. S/no respond& degrade 30dIes.,. tacoifeppode4ociellrensu contra sin escuchar su version; Lea la inforrnacion
  continuaclan,
     77one 30 0/AS OE CALENDARIO deapuas do erio Ia orgregUen este eflacida y males legatos pare presenteruna respuesla par oscrito•en esta
  carte y haor quo se entregue one copie al demandento: Una carte a una flamed& telefonke no to prdtegen. Su mspuesta par escrite gene quo ester
  en tomato legal corneae sl deSee quo procesen au ciao en la code. Es posible que..heya un forniular(a qua bated pueda.usar pare au respueste.
  Puede encontnar estos foimularlos de Is code y mos InfonneciOn en etCentrodeAytida de las Cartes de California (Www,autortecregov), en.la
  bibliolece- de(ayes de su condado o en fa carte qua 10 guade nibs Oro. Sipopuede pagerlecuota de pnasentecidn, pida alsecreted° dole coge
  quo le do rm formigerfo de ovine& go pap docuotas. Sino presents su nespueet0 a(tempo,puede perderelcaso par IncumplIngento y la cone le
  podrel guitar su sueldo, dinero y Merles sin Mils adyertenole.
     Hay oho requisitos legates. Es recomendablequeHanle a un abogedolnmedlatementa. Sin° conoce Ann &made,puede Aimee up amid° de%
  revision a aboged#.$1 nO puede pager e un abogadOe as poslble.que Ompla con los- moo/altos pals obtener servIcfas legates gratultos de un
  programs de seiv(cios-h3galas sin fines de luoro, Puedeencontrorestosrupos slatines de lucre on efaltio web de California Legal Services,
 (Www.lawhelpcallfornieorg), one!Centro do Ayigla tie/es Cortair.decallfornia,(mw.sucorte.ca.gov)o ponlendo.se.en contact° con la Corte 06!
  coleglo de abogados locales. AV1SO:Parley, be coda liens derecho a realms,'las cuotas.y los castes exontos por Impocar un gravamen sabre
  cuelquier recuperacian de $10,0000 mas de valor rolbidamedlente un aCuardoo rims canoes/On de °Whole en un caso de deracho civil. rem quo
  pager el giavamen dela carte antes de quo ía corte puede desecherel caso.
 The name and addrese.of the court is:                                                                ci.zaNumgen:
(El ncmbre y diners& de Is code es):
 Superior Court 011ie State of California for the County ofLos Angeles •
                                                                                                                     0S T C V32154
 Stanley Mosk Courthouse, 1.11 N. Hill Street, Los Angeles,.CA 90012
 The name, address., and telephone number of plaintiff% attorney; or plaintiff withotit an attorney, is:
(Elnombre, Ia dlrecOlari y olntmero de telelfano:del abogado.del..demanclante,. a del dement/ante qua no Ilene abogado, es):
  EdWin Aiwazian; 410 West Arden Avenue, Sate 203,Glendale, California 91203;(818)265-1020
 DATE: •        AUG.a. 4 20211       Sherri fliCer0r, Clerk          Clerk, by
                                                                                         •STEVEN                      OREW                     , Deputy
(Facile)                                                             (Secretario)                                                               (Adjunto)
(For proof of seivico Of this summons, use Proof,of Service. of Summons   (form POS-010).)
(Para prueba de entrega de es(a citation use el forms/orba Proof of Service Of Summons,(PO-S-0/0)).
                                  NOTICE TO THE PERSON SERvEbt You are served
  PEAL)
                                      1, E3 as an indlUldual defendant
                                     2.  Li as the person sued under the fictitious hams of(specify):
                                                                                                (11.
                                      3.jg2. on behalf of(Spicily):
                                           under. E]ri :Cc:.4476..4100 (corporation)              -1 1 CCP 416.60(minor)
                                                       CCP 416.20(defunct corporation)             ni CCP 416.70(conservatee)
                                                                                  )or partnership) ri CCP 416..90(authorized person)
                                                 E:21_ other (specify):
                                      4.        by personal deltvery on (date):        :8-8P 0 2 20211                                             Pena 1 of 1
  Form Adopted tor Mandatory We,                                     SUMMONS                                               Code of CM Procedure 55 412.20.468
    juoear Goancp of Celd'omte                                                                                                            www.coirrtlatace.pov
   SUM-10D (Ray. JISY I. 20001

                                                                                                                                                    EXH C pg. 1
                                                                                                                                                                 48
     Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 49 of 93 Page ID #:49


                                                                                                                             SUM-200(A)



L
                                                                                               CASE NUMBER:
    SHORT TITLE:
     Wilson, et al. vs. Ikea North America Services, LLC,et al.

                                                         INSTRUCTIONS FOR USE
   3 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
   + If this attachment is used, insert the following statement In the plaintiff or defendant box on the summons:"Additional Parties
     Attachment form is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

   [1] Plaintiff                El   Defendant        Cross-Complainant   r7 Cross-Defendant
    IKEA US RETAIL LLC,an unknown business entity;IKEA DISTRIBUTION SERVICES INC.; an
    unknown business entity; and DOES 1 through 100, inclusive,




                                                                                                                Page     1     of       1
                                                                                                                                    Page 1 of 1
 Form Adopted for Mandalofy Use
   Judicial Council of California                ADDITIONAL PARTIES ATTACHMENT
SUM-200(A)[Rov. January 1,2007)                        Attachment to Summons
                                                                                                                               EXH C pg. 2
                                                                                                                                             49
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 50 of 93 Page ID #:50




                          EXHIBIT D


                                                                                 50
   Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 51 of 93 Page ID #:51

                                                                                                  'SEP 0 2 2010
                                                                                                                                               SUM-100
                                       SUMMONS                                                                  (
                                                                                                                   FOR COURT USE ONLY
                                                                                                                 SOLO PAPAW()OE LA CORTE)
                                   (CITACION JUDICIAL)
                                                                                                              CONFORMED    COPY
 NOTICE TO DEFENDANT:-                                                                                          IRIGINAL FILED
 (AVISO AL DEMANDADO):                                                                                          O              California
                                                                                                            S uperior Court otAngeles
                                                                                                               County  of Los
  IKEA NORTH AMERICA SERVICES,LLC,an unknown business
 entity; "Additional Parties Attachment form is attached."
                                                                                                                     At313 24 ZOZO
 YOU ARE BEING SUED BY PLAINTIFF:
                                                                                                                     leti l qmu   ur ricerruerk of testi
(LO esrA DEMANDANDO EL DEMANDANTE):                                                                    Sherri KA •
                                                                                                                                            ,Deputy
  KYREE WILSON,RHONDA GUERRERO,individually, and on behalf                                               By
                                                                                                                     Steven Draw
  of other members of the general public similarly situated;
   NOTICE! You have bean sued. The court may decIdeagelnal you without your being hoard unless you respond.within 30 days. Read the Information
  below.
     You have 30 CALENDAR DAYS-after this surameneandlegal papers ereserved on you to file a written response at this court and have a copy
  served on the plaintiff. A.letter or phone call MI notpretest you. Yourwdtten response Must be in proper legalform if you.want the court to hear your
  ease, There•may he a spurtform that you can use for your response. You can find these court forms and more information Wife California Courts
  Online Self-Help Center(www.court(nfo,ca,goviselgiefp), your countylaw library,, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do notfileyour response ontfine, you may losethe case by default, and your wages, money, and property
   may be taken without further warning from the court.
      There are other legal requirements. You may want to -callen attorney right away. Rpm do not know an attorney, you maywarrt to call an .alterney
  referral service. If you cannot afford an attorney; you may bealigIble for.free legal servicea from a nonprofit legal services program, You can locate
   these nonprofit groups at the California Legal Services Web slte(www.lawhelpcal/fornla.ora theCalifornia Courts Online Self-Help Center
 (www.coortinfo.segoviselfhelp), Or by contacting yourlocal court or county bar association. NOTE: The court has estatutory lien for Waived fees and
  costs on any settlement or arbitration award of:S*10,000 or more ln a akin case. The court's lien Must be paid before the courtwill dismiss the case.
  IAVIS01 Le hen demanded°. S/no respond& degrade 30dIes.,. tacoifeppode4ociellrensu contra sin escuchar su version; Lea la inforrnacion
  continuaclan,
     77one 30 0/AS OE CALENDARIO deapuas do erio Ia orgregUen este eflacida y males legatos pare presenteruna respuesla par oscrito•en esta
  carte y haor quo se entregue one copie al demandento: Una carte a una flamed& telefonke no to prdtegen. Su mspuesta par escrite gene quo ester
  en tomato legal corneae sl deSee quo procesen au ciao en la code. Es posible que..heya un forniular(a qua bated pueda.usar pare au respueste.
  Puede encontnar estos foimularlos de Is code y mos InfonneciOn en etCentrodeAytida de las Cartes de California (Www,autortecregov), en.la
  bibliolece- de(ayes de su condado o en fa carte qua 10 guade nibs Oro. Sipopuede pagerlecuota de pnasentecidn, pida alsecreted° dole coge
  quo le do rm formigerfo de ovine& go pap docuotas. Sino presents su nespueet0 a(tempo,puede perderelcaso par IncumplIngento y la cone le
  podrel guitar su sueldo, dinero y Merles sin Mils adyertenole.
     Hay oho requisitos legates. Es recomendablequeHanle a un abogedolnmedlatementa. Sin° conoce Ann &made,puede Aimee up amid° de%
  revision a aboged#.$1 nO puede pager e un abogadOe as poslble.que Ompla con los- moo/altos pals obtener servIcfas legates gratultos de un
  programs de seiv(cios-h3galas sin fines de luoro, Puedeencontrorestosrupos slatines de lucre on efaltio web de California Legal Services,
 (Www.lawhelpcallfornieorg), one!Centro do Ayigla tie/es Cortair.decallfornia,(mw.sucorte.ca.gov)o ponlendo.se.en contact° con la Corte 06!
  coleglo de abogados locales. AV1SO:Parley, be coda liens derecho a realms,'las cuotas.y los castes exontos por Impocar un gravamen sabre
  cuelquier recuperacian de $10,0000 mas de valor rolbidamedlente un aCuardoo rims canoes/On de °Whole en un caso de deracho civil. rem quo
  pager el giavamen dela carte antes de quo ía corte puede desecherel caso.
 The name and addrese.of the court is:                                                                ci.zaNumgen:
(El ncmbre y diners& de Is code es):
 Superior Court 011ie State of California for the County ofLos Angeles •
                                                                                                                     0S T C V32154
 Stanley Mosk Courthouse, 1.11 N. Hill Street, Los Angeles,.CA 90012
 The name, address., and telephone number of plaintiff% attorney; or plaintiff withotit an attorney, is:
(Elnombre, Ia dlrecOlari y olntmero de telelfano:del abogado.del..demanclante,. a del dement/ante qua no Ilene abogado, es):
  EdWin Aiwazian; 410 West Arden Avenue, Sate 203,Glendale, California 91203;(818)265-1020
 DATE: •        AUG.a. 4 20211       Sherri fliCer0r, Clerk          Clerk, by
                                                                                         •STEVEN                      OREW                     , Deputy
(Facile)                                                             (Secretario)                                                               (Adjunto)
(For proof of seivico Of this summons, use Proof,of Service. of Summons   (form POS-010).)
(Para prueba de entrega de es(a citation use el forms/orba Proof of Service Of Summons,(PO-S-0/0)).
                                  NOTICE TO THE PERSON SERvEbt You are served
  PEAL)
                                      1, E3 as an indlUldual defendant
                                     2.  Li as the person sued under the fictitious hams of(specify):
                                                                                                (11.
                                      3.jg2. on behalf of(Spicily):
                                           under. E]ri :Cc:.4476..4100 (corporation)              -1 1 CCP 416.60(minor)
                                                       CCP 416.20(defunct corporation)             ni CCP 416.70(conservatee)
                                                                                  )or partnership) ri CCP 416..90(authorized person)
                                                 E:21_ other (specify):
                                      4.        by personal deltvery on (date):        :8-8P 0 2 20211                                             Pena 1 of 1
  Form Adopted tor Mandatory We,                                     SUMMONS                                               Code of CM Procedure 55 412.20.468
    juoear Goancp of Celd'omte                                                                                                            www.coirrtlatace.pov
   SUM-10D (Ray. JISY I. 20001

                                                                                                                                                    EXH D pg. 1
                                                                                                                                                                 51
     Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 52 of 93 Page ID #:52


                                                                                                                             SUM-200(A)



L
                                                                                               CASE NUMBER:
    SHORT TITLE:
     Wilson, et al. vs. Ikea North America Services, LLC,et al.

                                                         INSTRUCTIONS FOR USE
   3 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
   + If this attachment is used, insert the following statement In the plaintiff or defendant box on the summons:"Additional Parties
     Attachment form is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

   [1] Plaintiff                El   Defendant        Cross-Complainant   r7 Cross-Defendant
    IKEA US RETAIL LLC,an unknown business entity;IKEA DISTRIBUTION SERVICES INC.; an
    unknown business entity; and DOES 1 through 100, inclusive,




                                                                                                                Page     1     of       1
                                                                                                                                    Page 1 of 1
 Form Adopted for Mandalofy Use
   Judicial Council of California                ADDITIONAL PARTIES ATTACHMENT
SUM-200(A)[Rov. January 1,2007)                        Attachment to Summons
                                                                                                                               EXH D pg. 2
                                                                                                                                             52
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 53 of 93 Page ID #:53




                           EXHIBIT E


                                                                                 53
 Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 54 of 93 Page ID #:54

      ,                                                                                                                                                       CM-01-0
  uoliisigy opri PARTY WITHOUT ATTORNEY(Npme, Slate Oarnumber. and address):                                                 FOR COURT USE ONLY
 A Edwin A iwazian (State Bar No.232943)                                  '
  LAWYERS FOR JUSTICE,PC
  410 West Arden Avenue, Suite 203
   Glendale, California 91203                                                                                               Fl LED
                   (818)265-1020
          TELEPHONE NO.:                     FAX NO.: (818).265-i 021                                         Superior Court of California
 ATTORNEY FOR Nam): Plaintiffs Kyree Wilson and Rhonda Guerrero                                                 county of Los Angeles
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
    STREET ADDRESS: ill North Hill Street                                                                                AUG 24 2020
      MAILING ADDRESS:
     CRY AND ZIP CODE:     Los Angejes 90012                                                              Sherri R. Carter, Executive Officer/Clerk of Court
           a   NO-1 NAME: Stall'e lm()sic Courthouse                                                       By            S. DREW                           Deputy
  CASE NAME:
  Wilson. et al. vs. Ikea North America Services, LLC,et al.
   CIVIL CASE COVER SHEET                    Complex Case Designation
                                                                                                           CASE-NU

IvI  Unlimited
    (Amount
                   Ti Limited
                         (Amount                LJ Counter                ,loinder
                                                                                              2E0                            ST C V32 1 54
                                                                                        JUDGE:
     demanded             demanded Is          Filed with first appearance by defendant
    exceeds $25,000) . $25,000 or less)            (Cal. Rules of Court, rule 3.402)     DEPT:
                             Items 1-6 be ow must be completed(see Instructions on page 2).
1 Check one box below for the case type that best describes this case:
     Auto Tort                                         Contract                               Provisionally Complex Civil Litigation
     -
     1 7 Auto(22)                                         El  Breach of contract/warranty(06) (Cal. Rules of Court, rules 3.400-3.403)
           Uransured.motorist (48)                     1 1 Rule 3.740'collections (09)         11111 Antitrust/Trade regulation(03)
   Other Pl1PD/Wa(Personal Injury/Property             NI • Other collections(09)             1111 Construction defect(10)
   Damage/Wrongful Death)Tort                          L IJ insurance coverage(18)            0 Mass tort(40)
   1       Asbestos(04)                                   El  Other contract (37)             0 Securities litigation (28)
   —7. Product liability(24)                           Real Property                                1 1 .EnVIronrnentatiToxic
                                                                                                    -                      tort(30)
    —1 Medical malpractice(45)                                Eminent domalnlinverse                El
                                                                                                     Insurance coverage claims arising from the
     1_1   Other PI/PDNVD (23)                                condemnation (14)                      above listed provisionally complex case
     No n-PI/PDNVD    (Other)Tort                        Ej   Wrongful  eviction (33)                types(41)

           Business tort/unfair business practice (07)   0    Other real properly (26)        Enforcement of Judgment
         1 Civil rights(08)                            Unlawful Detainer                            El
                                                                                                     Enforcement ofjudgment(20)
     LJ    Defamation (13)                                    Commercial (31)                 Miscellaneous Civil Complaint
   1       Fraud (18)                                     El  Residential (32)                1.1 RICO(27)
     Li    intellectual property (19)                     El  Drugs(38                        El Other complaint (not specified above)(42)
  0 Professional negligence (25)                       Judicial Review                        Miscellaneous Civil Petition
   III Other non-Pl/PDNVD tort(35)                        El  Asset forfeiture (05)                  Partnership end corporate governance(21)
   _Ern_ployrnent                                      ElPetition re: arbitration.award (11)
                                                                                              El Other petition (not specified above)(43)
   Lj Wrongful -termination (36)                       MI Writ of mandate(02)
    _ V . Other employment (15)                           r7  Other judicial revtew (39)
2. This case I 6/ is            I u s not complex under rule 3.400 of the California Rules of Court. If the case Is complex, mark the
     factors requiring exceptional judicial management:
     a. CI Large number of separately represented parties                       d. El Large number of witnesses
     b. El Extensive motion practice raising difficult or novel                       Coordination with related actions pending in one or more courts
              issues that will be time-consuming to resolve                           in other counties, states, or countries, or in a federal court
        I V I Substantial amount cf documentary evidence                        f. CI Substantial postjudgmentjudicial supervieion
3. Remedies sought(check all that apply): a.1- 1 monetary b.F-1 nonmonetary; declaratory or injunctive relief                                    er-1 punitive
4. Number of causes of action (specify): Ten
5. This case 11:::] is El is not e class action suit.
6. If there are any known related cases, file and serve a notice of related case.(You may Use form CM-015.)
                                                                                   " ."
Date August 21, 2020                                                                                     •

Edwin Aiwazian                                                                                                         detrii!t2:/frit....j4«
                             JTYPE OR PRINT NAME)                                                 (SIGNATURE OF PARTY OR ATTQIIMY EMPTY)
                                                                               NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (exceptsmall claims cases or cases filed
   under the Probate Code, Family code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure toile may result
   In sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • if this case is complex under rule 3.400 et seq. ofthe California Rules of Court, you must serve a copy of this cover sheet on all
   ether parties to the action or proceeding,                                                                                A
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purples only. Pa 41 of
                                                                                                                                                              EXH. E pg. 1
                                                                                                                Cal. Rules of Coon rules 2.30, 3.220; 3.400-3.403, 3740;
Form Adopted for Mandatory Use                             CIVIL CASE COVER SHEET
  Judicial Cound of caraornfr,                                                                                         Col Slondarcls.of Agficial AcknIdzilrallon. std. 3.10
                                                                                                                                                                               54
      Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 55 of 93 Page ID #:55

                                                                                                                                     CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. if the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740,
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may fife and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto(22)-Personal Injury/Property              Breach of Contract/Warranty(06)                Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                           Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist(46)(if the                           Contract (not unlawful detainer            Construction Defect(10)
         case invohres an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort(40)
         motorist claim subject to                       Contract/Warranty Breach-Seller                Securities Litigation (28)
         arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort(30)
         instead of Auto)                                Negligent Breath of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                      (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                  case type listed above)(41)
Tort                                               Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos(04)                                        book accounts)(09)                             Enforcement of Judgment(20)
         Asbestos Property Damage                        Collection Case-Seller Plaintiff                   Abstract of Judgment(Out of
                                                        Other Promissory Note/Collections                        County)
         Asbestos Personal Injury/
              Wrongful Death                                 Case                                           Confession of Judgment(non-
                                                    Insurance Coverage (not provisionally                        domestic relations)
    Product Liability (not asbestos or
         toxic/environmental)(24)                       complex)(18)                                        Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                   Administrative Agency Award
         Medical Malpractice-                           Other Coverage                                        (not unpaid taxes)
              Physicians & Surgeons                Other Contract(37)                                       Petition/Certification of Entry of
         Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
               Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                                                Real Property                                                    Case
    Other PI/PD/WD (23)
         Premises Liability (e.g., slip            Eminent Domain/Inverse                           Miscellaneous Civil Complaint
              and fall)                                 Condemnation (14)                               RICO (27)
         Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                               Other Complaint(not specified
                                                                                                            above)(42)
             (e.g., assault, vandalism)            Other Real Property (e.g., quiet title)(26)
         Intentional Infliction of                                                                          Declaratory Relief Only
                                                        Writ of Possession of Real Property                 Injunctive Relief Only (non-
              Emotional Distress                        Mortgage Foreclosure                                     harassment)
         Negligent Infliction of                        Quiet Title
              Emotional Distress                                                                            Mechanics Lien
                                                        Other Real Property (not eminent
         Other PI/PDNVD                                                                                     Other Commercial Complaint
                                                        domain, andlord/tenant, or
                                                                                                                 Case (non-tort/non-complex)
Non-PI/PD/WD (Other)Tort                                foreclosure)
                                                                                                            Other Civil Complaint
    Business Tort/Unfair Business               Unlawful Detainer                                              (non-tort/non-complex)
        Practice (07)                               Commercial(31)
                                                                                                    Miscellaneous Civil Petition
    Civil Rights (e.g., discrimination,             Residential(32)                                     Partnership and Corporate
        false arrest)(not civil                     Drugs(38)(if the case Involves illegal                  Governance (21)
         harassment)(08)                                drugs, check this item; otherwise,              Other Petition (not specified
    Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above)(43)
         (13)                                   Judicial Review                                             Civil Harassment
    Fraud (16)                                      Asset Forfeiture (05)                                   Workplace Violence
    Intellectual Property(19)                       Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
    Professional Negligence(25)                     Writ of Mandate(02)                                          Abuse
        Legal Malpractice                               Writ-Administrative Mandamus                        Election Contest
        Other Professional Malpractice                  Writ-Mandamus on Limited Court                      Petition for Name Change
           (not medical or legal)                           Case Matter                                     Petition for Relief From Late
     Other Non-PI/PDNVD Tort(35)                        Writ-Other Limited Court Case                            Claim
Employment                                                  Review                                          Other Civil Petition
    Wrongful Termination (36)                       Other Judicial Review (39)
    Other Employment(15)                                Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                            Commissioner Appeals
CM-010[Rev. July 1,20071                                                                                                              Page 2 of 2
                                                   CIVIL CASE COVER SHEET
                                                                                                                                    EXH. E pg. 2
                                                                                                                                               55
        Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 56 of 93 Page ID #:56


  SHORT TITLE: Wilson,et al. vs.      Ikea North America Services, LLC, et al.                             CASE NUMBER




                             CIVIL CASE COVER SHEET ADDENDUM AND
                                     STATEMENT OF LOCATION
              (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
               This form is required pursuant to Local Rule 2.3 in all new civil case filings In the Los Angeles Superior Court.




      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010),find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

      Step 3: In Column C,circle the number which explains the reason for the court filing location you have
                   chosen.

                                            Applicable Reasons for Choosing Court Filing Location(Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.          7. Location where petitioner resides.
2. Permissive filing in central district.                                                 B. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                  9. Location where one or more of the parties reside.
4. Mandatory personal Injury filing in North District.                                   10. Location of Labor Commissioner Office.
                                                                                         11. Mandatory filing location (Hub Cases - unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                         non-collection, limited collection, or personal Injury).
6. Location of property or permanently garaged vehicle.



                                                          ,       • -'           •.            . B.        . - • ,,.      -••••••• •   - :.
                     -0. 1v11.'Pasq Cover Sheet.„...     -                 „             T. ype of Actionti                 .• .-           -...     '. Applicable Reasons -
                      . Categonj No,. ...."
                      :                                   •                             (Cheek              ''''       ''' . '.:.'     --                .:See
                                                                                                                                                       .,..  .. Stab
                                                                                                                                                                . „.. 3  Above
                                                                                                                                                                         Ab ...
                                                                                                                                                                      .. ..... e.

                             Auto(22)                  0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                         1,4,11

                     Uninsured Motorist(46)            0 A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist                    1,4, 11


                                                       0 A6070 Asbestos Property Damage                                                               1, 11
                          Asbestos(04)
                                                       0 A7221 Asbestos - Personal Injury/Wrongful Death                                              1, 11

                      Product Liability(24)            0 A7260 Product Liability (not asbestos or toxic/environmental)                                1,4,11

                                                       0 A7210 Medical Malpractice - Physicians & Surgeons                                            1,4, 11
                    Medical Malpractice(45)
                                                       0 A7240 Other Professional Health Care Malpractice                                             1, 4, 11


                                                       El A7250 Premises Liability(e.g., slip and fall)
                         Other Personal                                                                                                               1,4, 11
                         Injury Property               0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                                      1,4, 11
                        Damage Wrongful                        assault, vandalism, etc.)
                           Death (23)                                                                                                                 1, 4,11
                                                       0 A7270 Intentional Infliction of Emotional Distress
                                                       El A7220 Other Personal Injury/Property Damage/Wrongful Death                                  1, 4,11




  LASC CIV 109 Rev. 12/18                              CIVIL CASE COVER SHEET ADDENDUM                                                             Local Rule 2.3
                                                          AND STATEMENT OF LOCATION                                                                  Page 1 of 4
                                                                                                                                                                 EXH. E pg. 3
  For Mandatory Use
                                                                                                                                                                             56
             Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 57 of 93 Page ID #:57


SHORT TITLE:            Wilson, et al. vs. Ikea North America Services, LLC, et al.                      CASE NUMBER


                                                                                                            .. .  ,
                                                                 •. .     '1, - '''' 0.:. •'.' , '                                              C Applicable
                                                                                                                          ,        ..
                                         .at Sheet
                            Civil Case Cev                 , s, ' - .: %. .4 - :••••• ••• 1:1p    Act1on -1 .' '. :                        :Reasons - See Step:
                                . Category No . ..        :     • .:...   , ,...        .• CIock gnly one), • '                               *   Above

                              Business Tort(07)           0 A6029 Other Commercial/Business Tort(not fraud/breach of contract)             1, 2,3

                               Civil Rights(08)           0 A6005 Civil Rights/Discrimination                                              1, 2,3

                               Defamation(13)             0 A6010 Defamation (slander/libel)                                               1,2,3

                                  Fraud (16)              CI A6013 Fraud (no contract)                                                     1, 2,3

                                                          CI A6017 Legal Malpractice                                                       1, 2,3
                         Professional Negligence(25)
                                                          0 A6050 Other Professional Malpractice (not medical or legal)                    1, 2,3

                                  Other(35)               0 A6025 Other Non-Personal Injury/Property Damage tort                           1, 2,3

                           Wrongful Termination (36)      0 A6037 Wrongful Termination                                                     1, 2,3

                                                          0 A6024 Other Employment Complaint Case                                         n 2, 3
                            Other Employment(15)
                                  •                       0 A6109 Labor Commissioner Appeals                                               10

                                                          D A6004 Breach of Rental/Lease Contract(not unlawful detainer or wrongful
                                                                                                                                           2, 5
                                                                  eviction)
                         Breach of Contract/ Warranty                                                                                      2, 5
                                    (06)                 0 A6008 Contract/Warranty Breach -Seller Plaintiff(no fraud/negligence)
                              (not insurance)                                                                                              1, 2,5
                                                         0 A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                           1, 2,5
                                                          0 A6028 Other Breach of Contract/Warranty(not fraud or negligence)

                                                         0 A6002 Collections Case-Seller Plaintiff                                         5,6,11
                               Collections(09)
                                                          CI A6012 Other Promissory Note/Collections Case                                  5, 11
                                                         0 A6034 Collections Case-Purchased Debt(Charged Off Consumer Debt                 5, 6,11
                                                                 Purchased on or after January t 2014)
                           Insurance Coverage (18)       0 A6015 insurance Coverage (not complex)                                          1, 2,5,8

                                                         0 A6009 Contractual Fraud                                                         1, 2, 3, 5
                             Other Contract(37)          0 A6031 Tortious interference                                                     1,2, 3, 5
                                                          CI A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)           1, 2,3, 8,9
                                                                                                                                                                  ,
                           Eminent Domain/Inverse
                                                         0 A7300 Eminent Domain/Condemnation                Number of parcels             2, 6
                             Condemnation(14)

                            Wrongful Eviction(33)        0 A6023 Wrongful Eviction Case                                                   2,6

                                                         0 A6018 Mortgage Foreclosure                                                     2,8
                           Other Real Property(26)       0 A6032 Quiet Title                                                              2,6
                                                         0 A6060 Other Real Property(not eminent domain,landlord/tenant, foreclosure)     2,6

                        Unlawful Detainer-Commercial
                                                     0 A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)                 6, 11
                                    (31)
    Unlawful Detainer




                         Unlawful Detainer-Residential
                                                         0 A6020 Unlawful Detainer-ResIdentlal(not drugs or wrongful eviction)            6, 11
                                    (32)
                                                                                                                                                              _
                              Unlawful Detainer-
                                                         0 A6020F Unlawful Detalner-Post-Foreclosure                                      2,6,11
                            Post-Foreclosure(34)
                         Unlawful Detainer-Drugs(38)     D A6022 Unlawful Detainer-Drugs                                                  2,6, 11



                                                         CIVIL CASE COVER SHEET ADDENDUM                                                Local Rule 2.3
LASC CIV 109 Rev. 12/18
                                                            AND STATEMENT OF LOCATION                                                     Page 2 of 4
                                                                                                                                                     EXH. E pg. 4
For Mandatory Use
                                                                                                                                                            57
                Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 58 of 93 Page ID #:58


SHORT TITLE:                              Wilson, et al. vs. Ikea North America Services, LLC, et at.                               CASE NUMBER




                                                       ..4 : • . . ....                              •            . :: :.t... . .                           . C. Applicable
                                              Civil Case Cover Sheet               .                .'-        • ty.tie 4Acilert •        ._   ...      Reasons
                                                                                                                                                          ..       - See
                                                                                                                                                                      . Step 3
                                                   .coogpty:No;::• .                                     . (Check only
                                                                                                         -.._ ..        . -
                                                                                                                                                         - • • • Above.

                                               Asset Forfeiture(05)          0 A6108 Asset Forfeiture Case                                              2, 3,6

                                             Petition re Arbitration (11)    0 A6115 Petition to Compel/ConfirmNacate Arbitration                       2,5
        Judicial Review




                                                                             0 A6151 Writ - Administrative Mandamus                                     2,8
                                               Writ of Mandate(02)           0 A6152 Writ - Mandamus on Limited Court Case Matter                       2
                                                                             0 A6153 Writ - Other Limited Court Case Review                             2

                                            Other Judicial Review (39)       0 A6150 Other Writ /Judicial Review                                        2,8

                                          Antitrust/Trade Regulation (03) D A6003 Antitrust/Trade Regulation                                            1, 2,8
       Provisionally Complex Litigation




                                             Construction Defect(10)         0 A6007 Construction Defect                                                1, 2, 3

                                            Claims Involvin)g Mass Tort
                                                                             El A6006 Claims Involving Mass Tort                                        1, 2,8
                                                       (40

                                             Securities Litigation (28)      0 A6035 Securities Litigation Case                                         1, 2,8

                                                    Toxic Tort
                                                                             0 A6036 Toxic Tort/Environmental                                           1, 2, 3,8
                                                Environmental(30)

                                            Insurance Coverage Claims                                                                                   1, 2, 5,8
                                                                            0 A6014 Insurance Coverage/Subrogation(complex case only)
                                              from Complex Case(41)

                                                                            0 A6141 Sister State Judgment                                               2, 5, 11
                                                                            0 A6160 Abstract of Judgment                                                2, 6

                                                   Enforcement              0 A6107 Confession of Judgment(non-domestic relations)                      2, 9
                                                 of Judgment(20)            0 A6140 Administrative Agency Award (not unpaid taxes)                      2,8
                                                                             El A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax         2,8
                                                                            0 A6112 Other enforcement of Judgment Case                                 2, 8,9

                                                     RICO (27)              0 A6033 Racketeering (RICO)Case                                             1, 2, 8
  Civil Complaints
   Miscellaneous




                                                                             D A6030 Declaratory Relief Only                                            1, 2, 8

                                               Other Complaints             0 A6040 Injunctive Relief Only(not domestic/harassment)                    2,8
                                           (Not Specified Above)(42)        0 A6011 Other Commercial Complaint Case (non-tort/non-complex)              1, 2,8
                                                                            0 A6000 Other Civil Complaint(non-tort/non-complex)                         1, 2,8

                                             Partnership Corporation
                                                                            0 A6113 Partnership and Corporate Governance Case                          2,8
                                                Governance(21)
                                                                                                                                                                           -
                                                                            0 A6121 Civil Harassment With Damages                                      2, 3,9
  Miscellaneous
  Civil Petitions




                                                                            0 A6123 Workplace Harassment With Damages                                  2, 3, 9
                                                                            0 A6124 Elder/Dependent Adult Abuse Case With Damages                      2,3 9
                                               Other Petitions(Not
                                              Specified Above)(43)          0 A6190 Election Contest                                                   2
                                                                            0 A6110 Petition for Change of Name/Change of Gender                       2, 7
                                                                            0 A6170 Petition for Relief from Late Claim Law
                                                                                                                                                       2, 3,8
                                                                            CI A6100 Other Civil Petition
                                                                                                                                                       2,9




                                                                            CIVIL CASE COVER SHEET ADDENDUM                                          Local Rule 2.3
LASC CIV 109 Rev. 12/18
                                                                               AND STATEMENT OF LOCATION                                               Page 3 of 4
                                                                                                                                                                   EXH. E pg. 5
For Mandatory Use
                                                                                                                                                                         58
      Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 59 of 93 Page ID #:59


 SHORT TITLE:   Wilson, et al. vs. Ikea North America Services, LLC, et al.             CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                        ADDRESS:
   REASON:                                                                                     600 S Ikea Way
    2 1.02.0 3.04.05.06.07. 08.0 9.0 10.0 11.



   CITY:                                       STATE:     ZIP CODE:

   Burbank                                    CA          91502

Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                                 District of
           the Superior Court of California, County of Los Angeles[Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




                                                                                                                     •

  Dated: August 21, 2020
                                                                                   (SIGNATURE OF ATTORNEY/FILING PARTA/fr




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
      2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet, Judicial Council form CM-010.

      4. Civil Case Cover Sheet Addendum and Statement of Location form, LAM 109, LASC Approved 03-04(Rev.
         02/16).      •
      5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
      6. A signed order appointing the Guardian ad Litem, Judicial Councilform CIV-010,if the plaintiff or petitioner is a
         minor under 18 years of age will be required by Court in order to issue a summons.

      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint, or other initiating pleading in the case.




                                            CIVIL CASE COVER SHEET ADDENDUM                                           Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                               AND STATEMENT OF LOCATION                                                        EXH.
                                                                                                                        Page 4 of 4 E pg. 6
                                                                                                                                      59
  For Mandatory Use
       Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 60 of 93 Page ID #:60

                                                                                                       Reserved tor Clerk's Fee Storni)
                   SUPERIOR COURT OF CALIFORNIA
                      COUNTY OF LOS.ANGELES
    COURTHOUSE ADDRESS:                                                                                          FILED
 Spring Street Courthouse                                                                             •Supwr Couit oI California
                                                                                                        Cotinlyof LosAngeles
 312 North Spring Street, Los Angeles, CA 90012
                                                                                                            0812412020
                     NOTICE OF CASE ASSIGNMENT                                              'Sturm a Crete;Extoofive Otiod;ttOdeA afCoal
                                                                                              By.                 $. Draw                 Drifatty
                          UNLIMITED CIVIL CASE

                                                                                      CASE NUMEIEN:

    Your ease Is assigned for all purposes to the Judicial:officer Indicated below.   20STCV32154

                            MS FORM. IS TO BE SERVED WITH THE SUMMONS AND comPLAINT

                 ASSIGNED ;JUDGE               DEPT ,ROOM            .:•        ASSIGNED JUDGE                         .DEPT          ROOM
                                                                      :
     V     Ellhu M. Berle                     0
I




      Given to the Plairitirr/Cross-ComplainartliAttorney orRecord    Sherd R. Carter, Executive Officer / Clerk of Court
      on 08/24/2020                                                          By S, Drew.                                             3 Deputy        Cleric
                (Date)
LACIV 190(Rev 6118)          NOTICE OF CASE ASSIGNMENT                        UNLIMITED CIVIL CASE
LASC Approved 05108                                                                                                                           EXH. E pg. 7
                                                                                                                                                              60
      Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 61 of 93 Page ID #:61

                                  INSTRUCTIONS FOR HANDLING uNtuvirrip aym cAscs

The following critical provisions of the California Rules ofCourt, Title 3, Division?. as applicable in the Superior Coon, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1,2007. They apply to all general civil eases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over another Local *es to the extent the others are inconsistent.

CH41LENGET9 ASSIGNED mpg
A challenge under Code of Civil Procedure Section 170.6 must be inadwwithin IS. days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Coos will besubject         processingunder the following time standards:

CONIFIAINTS
All complaints shall be served within 60 days offiling and proof of service shall be filed within 90 days,

CROSS:COMPI,AINT
Without leave of court first being obtained, no cross-complaint may be -filed by any party after their answer is filed. Cross
complaints shall; be served within 30 days of the filing date and a proof ofservice filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must he fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.
FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not More than 16 days 'before the scheduled trial date. All
patties shall have .motions in limine, bifurcation motions, statements of major evidenthuy issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdietS,timely filed and served prior to the.conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exehanged
lists of exhibits and witnesses, and have submitted to the court t brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules,
SANCTIONS
The court will impose appropriate sanctions,for the. failure or refusal to comply with Chapter Three Rules, orders 'tunic by the
Court, and time standards or deadlines established by the Conti or by the Chapter Three Rules: Such sanctions may b.c on a party,
or if appropriate, on counsel for a party.

This 's not a complete delineation of the DIVISIon 7 or Chapter Three Ryles, and adherence only to the above provisions Is
therefore not a guarantee against the Imptisltion of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is. Imperative,
Clas ActIOJIA
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Ceurthouse and are randomly assigned to a complex
judge at the designated complex courthouse, 'If the case is *rid not to bell clime action it Will be returned to an independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to tbe Sopervising judge of complex litigation for determination of
complex status. If the case is deemed to be complex within. the meaning of California Wes of Court 3.400 en sq.., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
retumedto an Independent Calendar Courtroom fOr all purposes.




LAcry 190(Rev 6t18)         NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LAW.: Approved-05108                                                                                                            EXH. E pg. 8
                                                                                                                                          61
      Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 62 of 93 Page ID #:62

           I)     Superior Court of California, County of Los Angeles


                         ALTERNATIVE DISPUTE 14SOLUTIQN (ADR)
                                INFORMATION PACKAp. .

THE PLAINTIFF MUST SERVE THIS APR INFORMATION PACKAGE ON EAC PARTY WITH THE COMPLAINT.
 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What Is ADP
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (OUR).These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   •• Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   • Costs: If the parties do not resolve their dispute,they may have to 'pay for ADR and litigation and trial.
   • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR;
    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settiement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the 'parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication probiemsor strong emotions that interfere with resolution.
                Mediation may ngt be appropriate when the parties
                  • want a public trial and want a Judge or jOry to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.



    LASC CIV 271 Rev. 01/20
                                                                                                                         1
    For Mandatory Use




                                                                                                                             EXH. E pg. 9
                                                                                                                                   62
      Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 63 of 93 Page ID #:63
                                   4100/..ttralfange-h1edititiOn In„LOSAnteleSTOUntY'
                                                      .•            . . .      .•
  Mediation for civil cases is voluntary and .parties may select anY mediatOr they wish..gptions include: .

           a. The.Civil Mediation Vendor Resource List .'
              lig parties agree to,medlatiort;they may contact these CirganIzatIons to request a "Resource List
              Mediation" fOr mediation at i-etilaced cost oYrb co$'06.17el t..eci:.6se0: 1 .

             • ADR Services, Inc. Case.Manager patriciagoadrservices.torn (30).201,0010(Ext1201
             • JAMS, Inc. Senior Case noppgef mbinclerffliamsadr.cdniplo 309.-6204
             . Mediation Center of Los. ArigelesINICI,A) Program Manager intoPmediatIonlA.org(8331476-9145
                  o Only MCLA provides M' ediation in person, byjiii.i4e and by videoconference.

           These organizations cannot accept every case and they may decline cases at their discretion.
              Visit www.lacourt.org/ADR.Res4 St for linportant information end FAQs before contacting them,
              NOTE This program does not accept family law, probateior smell claims cases.

           b. Los Angeles County DIspute.Resolution Programs.
              h•ttes://wdacs.lacounty,eoviprograrnsidrpi
                 • Small claims, unlawful detainers (evictions and,at the Spring Street Courthouse, limited ciVII:
                          o Free,day- of- trial mediations at the courthouse. No appointment needed.
                          o Free or low-cost mediation's before the day of trial.
                          o For free or low-cost o- nline Dispute.liesolution(01)R) by phone or computer before the
                             day oftrial visit                                          •
                             fittpWwww.lacourt.orgielfvisionisrnaliclalms/pdf/OnlineDIsputeResolutiOnFlyer-
                              EngSpap,pdf                                                           •

           c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.




   3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
      person wha decides the outcome, In 'binding" arbitration, the arbitrator's decision is final; there is no right to
      trial. In "nonbinding" arbitration,any party can request a trial after the arbitrator's decision. For more
      information about arbitration, visit htt                                    ra -adr.htm

   4. Mandatory Settlement Conferences(MSC): MSCs are ordered by the Court and are often held close to the trial
      date or on the day of trial. The parties and their attorneys meet With a Judge or settlement officer who does not
      make a decision but assists the parties. in evaluating the strengths.and weaknesses of the case and in negotiating
      a settlement. For information about the Court's MSC programs for civil cases, visit
      http://www.lacourt.org/dIvision/clvil/Cl0047,aspx


Los Angeles Superior Court ADR website: http://www,lacourtorddivision/civil/C10109.0spx
For general information and videos about ADR, visit http;uwww:courts,ca.gov/programs-adr.htm



LASC CIV 271 Rev. 01/20
For Mandatory Use


                                                                                                                          2




                                                                                                                          EXH. E pg. 10
                                                                                                                                 63
  Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 64 of 93 Page ID #:64


                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California   voluntary stipulations entered into by the parties, The parties
County of Los Angeles
                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
 LACBA                         because the Court wants to ensure uniformity of application.
Loa Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

                                  The following organizations endorse the goal of
Consumer Attorneys
Association of Loa Angeles     promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve Issues in their cases.

                               +Los Angeles County Bar Association Litigation Section+
Southern California
Defense Counsel
                                        •Los Angeles County Bar Association
MIT.MIAlabliTsn Me.
                                             Labor and Employment Law Section*

Association of
Business Trial Lawyers             *Consumer Attorneys Association of Los Angeles+


                                        *Southern California Defense Counsel*
4110   1;100—Tretrk
             0
             :1M
          wJ                           *Association of Business Trial Lawyers+
          GRA          N•
    Tatisracog‘iitinrAan•

California Employment
Lawyers Association
                                    *California Employment Lawyers Association*


    LAGIV 230(NEW)
   (ASO Approved 4-11
    For Optional Use




                                                                                                 EXH. E pg. 11
                                                                                                        64
         Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 65 of 93 Page ID #:65


.NAIAII AND ADDRESS Cl' ATTOFVEY OR PARTY MIKAN'ATTORNEY.                STATE I.)AR NUMBER            R,Thervorl fro Clerk'.Pk BRIF,P




          TELEPHONE NO.:                                    FAX NO,(0pilonal):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Namu):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS;

PLAINTIFF:

 DEFENDANT:

                                                                                              —ERR NUMBER:
            STIPULATION — EARLY ORGANIZATIONAL MEETING

        This stipulation Is Intended to encourage cooperation among the parties at an early stage In
        the litigation and to assist the parties In efficient case resolution.

        The .parties agree that:
        1. The parties commit to conduct an initial conference (In-person or via teleconference or via
           videoconference) within 15 days from the date this stipulation IS signed, to (discuss and consider
           whether there can be agreement on the following:'
              a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                 amendment as of right, or if the Court would allow leave to amend, could an amended
                 complaint resolve most or all of the issues a demurrer might etherMse raise? If so, the parties
                 agree to work through pleading issues so that a demurrer need only raise issues they cannot
                 resolve. Is the issue that the defendant seeks to raise amenable to. resolution on demurrer, or
                 would some other type of motion be preferable? Could a voluntary targeted exchange of
                 documents or information by any party cure an uncertainty in the pleadings?

              b. Initial mutual exchanges of documents at the "core" of the 'litigation. (For example, in an
                 employment case, the employment records, personnel file and documents relating to the
                 conduct in question could be considered "core." in a, 'personal injury case, an incident or
                 police report, medical records., and repair or maintenance records could be considered
                 "core");
              c. Exchange of names and contact information of witnesses::

              d. Any Insurance agreement. that may be Venable to .satisfy part or all 'of a judgment, or to
                 Indemnify or reimburse forpaYments made to satisfy a judgment:
              e. Exchange of any other information that Might be helpful to facilitate understanding, handling,
                 or resolution of the case In a manner that preserves objections or priVileges by agreement;

              f. Controlling issues of law that, if resolved early, will: promote efficiency and economy in other
                 phases of the case. Also, when and how such issues can be presented to the Court;'

              g- Whether or when the case should be scheduled with. a settlement officer, what discovery or
                 court ruling on legal issues is reasonably required to make settlement' discussions meaningful,
                 and whether the parties wish to use a sitting judge or a private mediator or other options as:
        LAM 229(Rev 02115)
        LAW Approved 0011                STIPULATION — EARLY ORGANIZATIONAL MEETING
        For Optional Use                                                                                                        Page 1 of 2




                                                                                                                                              EXH. E pg. 12
                                                                                                                                                     65
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 66 of 93 Page ID #:66
°KOH? 1/TLE:                                                                      CAE.E N.UMBF-It




               discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;
      I. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
         www.lacourt.ora under 'Civil and then under "General information"),

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                         for the complaint, and                             for the cross-
                       (INSERT DATE)                                        (INSERT DATE)
               complaint, which Is comprised of the 30 days to respond under Government Code § 68618(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at wvvw.lecourt.orq under "Civil,
               click on "General Information", then click on "Voluntary Efficient Litigation Stipulations",

3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.
4.             References to "days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court cloy

The following: parties stipulate:
Date:

                 (TYPE OR PRINT NAME)                                        (ATTORNEY FOR PLAINTIFF)
Date:

                 (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


LACIV 229(Rev 02/15)
Li= Aproved
        p     04/11          STIPULATION — EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2




                                                                                                                      EXH. E pg. 13
                                                                                                                             66
        Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 67 of 93 Page ID #:67

NAME AND ADDRESS or ATTORNEY OR PARIY WITHOUT ATTORNEY:                STATE BANNUNSER           Aosenroel for Etark't Flo Siam




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (OptIons1):
    ATTORNEY FOR (tgerno):
SUPERIOR COURT OF CALIFORNIA COUNTY OF LOS.ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:

                                                                                         CASE NUMBER:
                    STIPULATION — DISCOVERY RESOLUTION

       This stipulation is intended to provide a fast and informal resolution of discovery Issues
       through limited paperwork and an informal conference with the Court to aid In the
       resolution of the issues.

       The parties agree that:

       1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
          the moving party first makes a written request for an Informal Discovery Conference pursuant
          to the terms of this stipulation.

       2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
          and determine whether it can be resolved informally. Nothing set forth herein will preclude a
          party from making a record at the conclusion of an Informal Discovery Conference, either
          orally or in writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                   a. The party requesting the informal Discovery Conference will:

                       i,     File a Request for Informal Discovery Conference with the: clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                              Include a brief summary of the dispute and specify the relief requested; and

                              Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                   b. Any Answer to a Request fer Informal Discovery.Conference must

                       .
                       i       Also be filed on the approved form (copy attached);

                       ii.     Include a brief summary of why the requested relief should be denied;
        LACIV 036(new)
        LASC Approved 04/11                     STIPULATION — DISCOVERY RESOLUTION
        For Opllonal Use                                                                                                 Page 1 of 3




                                                                                                                                       EXH. E pg. 14
                                                                                                                                              67
 Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 68 of 93 Page ID #:68
SHORT TITLE:                                                                  CASE NUMBER:




               ill.   Be filed within two (2)court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, Or attachments, will
         be accepted,

      d. If the Court has not granted or denied. the Request for Informal Discovery Conference
         within ten (10) days following the thing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which 'must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference Is not held within twenty (20) days of the filing of the Request for
         Informal Discovery Conference., unless extended by agreement of the parties and the
         Court, then the. Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time,

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c)the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever Is earlier, unless extended
   by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a "specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

6, Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation,

8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation fells an a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



 LAC1V 036(new)
 LASC Approved 04/11             STIPULATION,DISCOVERY RESOLUTION
 For Optional Use                                                                              Page 2 of 3




                                                                                                             EXH. E pg. 15
                                                                                                                    68
 Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 69 of 93 Page ID #:69
store tale:                                                     CASE NUMBER:




The following parties stipulate:

Date:

               (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
Date:
               (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:
               (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:
               (TYPE OR PRINT NAME/                          (ATTORNEY FOR DEFENDANT)
Date:
               (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:
               (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:
               (TYPE OR PRINT NAME)                   (ATTORNEY FOR




 LACIV 036(new)
 LASC Approved 04/11          STIPULATION — DISCOVERY RESOLUTION
 For Optional Use                                                                        Page 3913




                                                                                                     EXH. E pg. 16
                                                                                                            69
        Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 70 of 93 Page ID #:70


• NAME ANO AMMER OF ATTORNIET OR PARTY WITHOUT ATTORNEY:                STATE OAR NUMBER                     linarrad tar Llama Fin Mama




           TELEPHONE NO.:                                  FAX NO.(OpIfonal);
  E-MAIL ADDRESS (Optional):
     ATTORNEY FOR (Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES-
 COURTHOUSE ADDRESS:

 PLAINTIFF:

 DEFENDANT:

                                                                                                    CASE NUMBER:
                     INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
        1. This document relates to:
              0       Request for Informal Discovery Conference
              0       Answer to Request for Informal Dlscovety Conference
        2, Deadline for Court to decide on Request:                    (Insert date 10 calendar days following filing of
              the Request).
        3. Deadline for Court to hold Informal Discovery Conference:                                            (Insert dole 20 calendar
              days following filing of the Request).
        4. For a Request for Informal Discovery Conference, briefly, describe the nature of the
           discovery dispute, including the facts and legal arguments at Issue. For an Answer to
           Request for Informal Discovery Conference, prlefly describe why the Court should deny
           the requested
                 .       discovery,
                              .     including
                                         .    the facts, and
                                                          . legal arguments.at issue.




         LACh/ 094(new)                        INFORMAL DISCOVERY CONFERENCE
         LASC Approved 04/1 1
         For Optional Use                (pursuant to the DlecoVery Resolution Stipulation of the parties)




                                                                                                                                           EXH. E pg. 17
                                                                                                                                                  70
         Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 71 of 93 Page ID #:71


.NAME AND AODRCBS OF ATTORNEY OR PARTY WIIflOu r ArtaRNEM                liTATE BAR NUMBER             Rosalind for Coda Flo Slainn




           TELEPHONE NO,                                    FAX NO.{Optional):
  E-MAIL ADDRESS (Opflonal).
     ATTORNEY FOR (Name):
 SUPERIOR COURT OF CALIFORNIAi COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:

 PLAINTIFF:

 DEFENDANT:

                                                                                             'CASE NUMCIER:
                STIPULATION AND ORDER                          MOTIONS IN LIMINE


        This stipulation is intended to provide fast and Informal resolution of evidentiary
        issues through diligent efforts to define and discuss such issues and limit paperwork.


        The parties agree that:
        1. At least       days before the final status conference, each party will provide all other
           parties with a list containing. a one paragraph explanation of each proposed motion in
           limine. Each one paragraph explanation must identify the substance of a single proposed
           motion in limine and the grounds for the proposed motion.

        2. The parties thereafter will meet and confer, either in person or via teleconference or
           videoconference, concerning all proposed motions in limine. In that meet and confer, the
           parties will determine:
              a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                 stipulate, they may file a stipulation and proposed order with the Court.
              b. Whether any of the proposed motions can 'be..briefed and submitted by means of a
                 short joint statement of issues. For. each 'motion which can be addressed by a short
                 joint statement of issues, a short joint statement of issues must be filed with the Court
                 10 days prior to the final status conference. Each side's portion of the short joint
                 statement ofissues may not exceed three pages. The parties will meet and confer to
                 agree on a date and .manner for exchanging the parties' respective portions of the
                 short joint statement of issues and the process for filing the short joint statement of
                  issues.
        3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues will be briefed and filed in accordance with the California
           Rules of Court and the Los Angeles Superior Court Rules.



         LACIV 075(new)
         LASC Approved 04/11               STIPULATION AND ORDER — MOTIONS IN MAINE
         For Optional- Use                                                                                                   Page 1 of 2




                                                                                                                                           EXH. E pg. 18
                                                                                                                                                  71
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 72 of 93 Page ID #:72
Rom TITLE:                                                 CABE NUMBER:




The following parties stipulate:
Date:

             (TYPE OR PRINT NAME)                     (ATTORNEY FOR PLAINTIFF)
Date:

             (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

             (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

             (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

             (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

             (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

             (TYPE OR PRINT NAME)                 (ATTORNEY FOR



THE COURT SO ORDERS.

  Date:
                                                            JUDICIAL OFFICER




LACIV 075(now)
LASC Approved 04/11    STIPULATION AND ORDER   MOTIONS IN LIMINE               Page 2 of2




                                                                                            EXH. E pg. 19
                                                                                                   72
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 73 of 93 Page ID #:73




                           EXHIBIT F


                                                                                 73
         Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 74 of 93 Page ID #:74

                                                                                                                                    POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and address):                                           FOR COURT USE ONLY
 Edwin Aiwazian SBN 232943
 Lawyers For Justice, PC
 410 Arden Ave 203
 Glendale, CA 91203
 TELEPHONE NO.: (818)265-1020                   FAX NO.(Optional):
     E-MAIL ADDRESS (Optional):
     ATTORNEY FOR (Name):            Plaintiff Kyree Wilson


 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
    STREET ADDRESS: 111 N Hill St.
    MAILING ADDRESS: 111 N Hill St.
   CITY AND ZIP CODE: Los Angeles, CA 90012
       BRANCH NAME: SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

          PLAINTIFF/PETITIONER: Kyree Wilson, individually, and on behalf of other members of                  CASE NUMBER:
                                the general public similarly situated                                          20STCV32154

      DEFENDANT/RESPONDENT: Ikea North America Services, LLC, an unknown business entity

                                                                                                               Ref. No. or File No.:
                                       PROOF OF SERVICE SUMMONS                                                Ikea


                                             (Separate proof of service is required for each party served.)
1.       At the time of service I was at least 18 years of age and not a party to this action.

2.       I served copies of: Summons;Complaint; Civil Case Cover Sheet; Notice of Case Assignment;ADR Information Packet;
                             Voluntary Efficient Litigation Stipulation;

3.       a. Party served (specify name of party as shown on documents served):Ikea North America Services, LLC, an unknown
            business entity

         b.
              CI       Person (other than the party in item 3a)served on behalf of an entity or as an authorized agent(and not a person under
                       item 5b on whom substituted service was made)(specify name and relationship to the party named in item 3a):
                       Gabriela Sanchez, Authorized to Accept Service for CT Corporation System

4.       Address where the party was served: 818 W 7th St Ste 930 Los Angeles, CA 90017

5.       I served the party (check proper box)
         a.   ni       by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
                       service of process for the party(1)on:9/2/2020(2)at: 01:36 PM
         b.            by substituted service. On: at: I left the documents listed in item 2 with or in the presence of(name and title or
                       relationship to person indicated in item 3):



                     (1)              (business) a person at least 18 years of ago apparently in charge at the office or usual place of business of
                                      the person to be served. I informed him or her of the general nature of the papers.
                     (2)             (home)a competent member of the household (at least 18 years of age)at the dweling house or usual
                            1==1     place of abode of the party. I informed him or her of the general nature of the papers.
                     (3)              (physical address unknown)a person of at least 18 years of age apparently in charge at the usual
                                      mailing address of the person to be served, other than a United States Postal Service post office box. I
                                      informed him or her of the general nature of the papers.
                     (4)              I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at
                                0 the place where the copies were left(Code Civ. Proc.,§ 415.20). I mailed the documents:
                                      on:                     from:                         or ni a declaration of mailing is attached.
                                                                                                                                             Page 1 of 3

 P05-010[Rev. January 1.2007)                             PROOF OF SERVICE OF SUMMONS
                                                                                                                                  Invoice #3815102.01

                                                                                                                                         EXH F pg. 1
                                                                                                                                                   74
          Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 75 of 93 Page ID #:75


    PLAINTIFF/PETITIONER:                       Kyree Wilson, individually, and on behalf of other members of      CASE NUMBER:
                                                the general public similarly situated                              20STCV32154
    DEFENDANT/RESPONDENT:                       Ikea North America Services, LLC, an unknown business
                                                entity



                        (5)       ri I      attach a declaration of diligence stating actions taken first to attempt personal service.

 5.       C. I—I by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                 address shown in item 4, by first-class mail, postage prepaid,
                         (1) on:                                                     (2) from:
                         (3)      r-7     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope
                                          addressed to me.(Attach completed Notice and Acknowledgment of Receipt.)(Code Civ. Proc.,§ 415.30.)
                        (4)               to an address outside California with return receipt requested.(Code Civ. Proc.,§ 415.40.)

          d. -
             1 1 by other means (specify means ofservice and authorizing code section):

                          Additional page describing service is attached.

 6.       The "Notice to the Person Served"(on the summons)was completed as follows:
          a.         as an individual defendant.
              I=1
          b. E: as the person sued under the fictitious name of(specify):
          c.              as occupant.
                E1
          d.              On behalf of (specify): Ikea North America Services, LLC, an unknown business entity
                          under the following Code of Civil Procedure section:
                                        416.10 (corporation)                                415.95(business organization, form unknown)
                                                                                   El
                                        416.20 (defunct corporation)                        416.60(minor)
                                                                                   El
                                        416.30 (joint stock company/association)            416.70(ward or conservatee)
                                                                                   El
                                        416.40(association or partnership)                  416.90(authorized person)
                                                                                   El
                                        416.50(public entity)                               415.46 (occupant)
                                                                                   El
                                                                                            other:
                                                                                   El
 7.       Person who served papers
          a. Name: Bruce Anderson
          b. Address: 7162 Beverly Blvd Suite 508, Los Angeles, CA 90036
          c. Telephone number: 800-687-5003
          d. The fee for service was: $110.00
          e. lam:
             (1)          not a registered California process server.
               (2)               exempt from registration under Business and Professions Code section 22350(b).
               (3) ni a registered California process server:
                                (i)      pl owner         -
                                                          I 1 employee                   independent contractor.
                                (ii)    Registration No.: 2016038577
                                (iii)   County: Los Angeles




POS-010[Rev. January 1, 2007]
                                                                PROOF OF SERVICE OF SUMMONS                                                    Pago 2 of 3

                                                                                                                                    Invoice#: 3815102-01
                                                                                                                                           EXH F pg. 2
                                                                                                                                                    75
         Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 76 of 93 Page ID #:76


    PLAINTIFF/PETITIONER:             Kyree Wilson, individually, and on behalf of other members of     CASE NUMBER:
                                                                                      _
                                      the general public similarly situated                             20STCV32154
    DEFENDANT/RESPONDENT:             Ikea North America Services, LLC, an unknown business
                                      entity




 8.    Ei I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


                                                                          Bruce Anderson                        Date: 09/0412020




p0-010[Rev.,lepoery 1. 20971
                                                   .PROOF OF SERVICE OF SUMMONS                                                     Page 3 of 3

                                                                                                                         Invoice#: 3815102-01

                                                                                                                                 EXH F pg. 3
                                                                                                                                          76
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 77 of 93 Page ID #:77


    1                                      PROOF OF SERVICE
    2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    3
               I am employed in the County of Los Angeles, State of California. I am over the age of 18
    4   and not a party to the within action. My business address is 410 West Arden Avenue, Suite 203,
        Glendale, California 91203.
    5
                On September 4, 2020, I served the foregoing document(s) described as: PROOF OF
    6   SERVICE OF SUMMONS [IKEA NORTH AMERICA SERVICES, LLCI on interested
    7   parties in this action by placing a true and correct copy thereof, enclosed in a sealed envelope
        addressed as follows:
    8
        IKEA NORTH AMERICA SERVICES,LLC
    9   818 West 7th Street, Suite 930
        Los Angeles, California 90017
   10
   11   IKEA US RETAIL LLC
        818 West 7th Street, Suite 930
   12   Los Angeles, California 90017
   13   IKEA DISTRIBUTION SERVICES INC.
        818 West 7th Street, Suite 930
   14
        Los Angeles, California 90017
   15
        [X]    BY U.S. MAIL
   16          As follows: I am "readily familiar" with the firm's practice of collection and processing
               correspondence for mailing. Under that practice, it would be deposited with U.S. Postal
   17          Service on that day with postage thereon fully prepaid at Los Angeles, California in the
   18          ordinary course of business. I am aware that on motion of the party served, service is
               presumed invalid if postal cancellation date or postage meter date is more than one day
   19          after date of deposit for mailing an affidavit.

   20 [X]      STATE
               I declare under penalty of perjury under the laws of the State of California that the above
   21          is true and correct.
   22
               Executed on September 4, 2020, at Glendale, California.
   23
   24
   25
   26
   27
   28

                                                       2
                                                                                            EXH F pg. 4
                                              PROOF OF SERVICE                                     77
        Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 78 of 93 Page ID #:78

                                                                                                                                POS-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and address):                                   FOR COURT USE ONLY
     Edwin Aiwazian SBN 232943
     Lawyers For Justice, PC
     410 Arden Ave 203
     Glendale, CA 91203
     TELEPHONE NO.: (818)265-1020                   FAX NO.(Optional):
     E-MAIL ADDRESS (Optional):
     ATTORNEY FOR (Name):       Plaintiff Kyree Wilson


     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
        STREET ADDRESS: 111 N Hill St.
        MAILING ADDRESS: 111 N Hill St.
       CITY AND ZIP CODE: Los Angeles, CA 90012
           BRANCH NAME: SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

          PLAINTIFF/PETITIONER: Kyree Wilson; individually, and on behalf of other members of              CASE NUMBER:
                                the general public similarly situated                                      205TCV32154

      DEFENDANT/RESPONDENT: Ikea North America Services, LLC, an unknown business entity

                                                                                                           Ref. No. or File No.:
                                    PROOF OF SERVICE SUMMONS                                               Ikea

                                          (Separate proof of service is required for each party served.)
1.       At the time of service I was at least 18 years of age and not a party to this action.

2.       I served copies of: Summons; Complaint; Civil Case Cover Sheet; Notice of Case Assignment; ADR Information Packet;
                             Voluntary Efficient Litigation Stipulation;

3.       a. Party served (specify name ofparty as shown on documents served): Ikea Distribution Services Inc.; an unknown business
            entity

         b.
              CI       Person (other than the party in item 3a)served on behalf of an entity or as an authorized agent(and not a person under
                       item 5b on whom substituted service was made)(specify name and relationship to the party named in item 3a):
                       Gabriel Sanchez, Authorized to Accept Service for CT Corporation System

4.       Address where the party was served: 818 W 7th St Ste 930 Los Angeles, CA 90017

5.       I served the party (check proper box)
         a.          by personal service..I personally delivered the documents listed in item 2 to the party or person authorized to receive
                     service of process for the party(1)on:9/2/2020 (2)at:01:36 PM
         b.          by substituted service. On: at: I left the documents listed in item 2 with or in the presence of(name and title or
                     relationship to person indicated in item 3):



                     (1) 1--1 (business)a person at least 18 years of age apparently in charge at the office or usual place of business of
                              the person to be served. I informed him or her of the general nature of the papers.
                      (2) 1     1 (home)a competent member of the household (at least 18 years of ago)at the dwoling house or usual
                                  place of abode of the party. I informed him or her of the general nature of the papers.
                     (3) j      1 (physical address unknown)a person of at least 18 years of age apparently in charge at the usual
                                  mailing address of the person to be served, other than a United States Postal Service post office box. I
                                  informed him or her of the general nature of the papers.
                     (11)         I thereafter mailed (by first class, postage prepaid) copies of the documents to the person to be served at
                                  the place where the copies were left(Code Civ. Proc., § 415.20). I mailed the documents:
                                  on:                      from:                          or r---1  a declaration of mailing is attached.
                                                                                                                                        Page 1 of 3

 POS-010[Rev. January 1.20071                         PROOF OF SERVICE OF SUMMONS
                                                                                                                             Invoice #3815102-03

                                                                                                                                    EXH F pg. 5
                                                                                                                                             78
         Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 79 of 93 Page ID #:79


   PLAINTIFF/PETITIONER:                        Kyree Wilson, individually, and on behalf of other members of   CASE NUMBER:
                                                the general public similarly situated                           20STCV32154
   DEFENDANT/RESPONDENT:                        Ikea North America Services, LLC, an unknown business
                                                entity



                        (5) ri I attach a declaration of diligence stating actions taken first to attempt personal service.
 5.       c. El by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                address shown in item 4, by first-class mail, postage prepaid,
                        (1) on:                                                       (2) from:
                        (3)                with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope
                                           addressed to me.(Attach completed Notice and Acknowledgment of Receipt.)(Code Civ. Proc.,§ 415.30.)
                        (4)       n to an address outside California with return receipt requested.(Code Civ. Proc.,§ 415.40.)
          d.    r-i       by other means (specify means ofservice and authorizing code section):

                n Additional page describing service is attached.

6.        The "Notice to the Person Served"(on the summons)was completed as follows:
          a.         as an individual defendant.
          b.
                El        as the person sued under the fictitious name of(specify):
          C.              as occupant.
          d.              On behalf of (specify): Ikea Distribution Services Inc.; an unknown business entity
               C1         under the following Code of Civil Procedure section:
                                        416.10 (corporation)                               415.95(business organization, form unknown)
                                        416.20 (defunct corporation)                       416.60 (minor)
                                        416.30 (joint stock company/association)           416.70(ward or conservatee)
                                        416.40 (association or partnership)                416.90 (authorized person)
                                        416.50 (public entity)                             415.46 (occupant)
                                                                                           other:
                                                                                    El
7.        Person who served papers
          a. Name: Bruce Anderson
          b. Address: 7162 Beverly Blvd Suite 508, Los Angeles, CA 90036
          c. Telephone number: 800-687-5003
          d. The fee for service was: $110.00
          e. lam:
             (1)     n    not a registered California process server,
               (2)               exempt from registration under Business and Professions Code section 22350(b).
               (3) r7 a registered California process server:
                                (i) owner              employee                    n independent contractor.
                                (ii)    Registration No.: 2016038577
                                (iii)   County: Los Angeles




POS-010[Rev. January 1, 20071
                                                                 PROOF OF SERVICE OF SUMMONS                                             Page 2 of 3

                                                                                                                              Invoice#: 3815102-03
                                                                                                                                     EXH F pg. 6
                                                                                                                                              79
           Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 80 of 93 Page ID #:80

   PLAINTIFF/PETITIONER:                 Kyree Wilson, individually, and on behalf of other members of         CASE NUMBER:
                                         the general public Similarly situated                                 20STCV32154
    DEFENDANT/RESPONDENT:                Ikea North America Services, LLC, an unknown business
                                         entity




                 I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
 8"    1     1




                                                                                         P
                                                                               Bruce Anderso                          Date: 09/04/2020




PC -010(Rev. January 1,2007]
                                                        PROOF OF SERVICE OF SUMMONS                                                        Page 3 of 3

                                                                                                                                Invoice#: 3815102-03

                                                                                                                                        EXH F pg. 7
                                                                                                                                                80
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 81 of 93 Page ID #:81


    1                                       PROOF OF SERVICE
    2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

    3
               I am employed in the County of Los Angeles, State of California. I am over the age of 18
    4   and not a party to the within action. My business address is 410 West Arden Avenue, Suite 203,
        Glendale, California 91203.
    5
                 On September 4, 2020, 1 served the foregoing document(s) described as: PROOF OF
    6
        SERVICE OF SUMMONS [IKEA DISTRIBUTION SERVICES INC.] on interested parties
    7   in this action by placing a true and correct copy thereof, enclosed in a sealed envelope addressed
        as follows:
    8
        IKEA NORTH AMERICA SERVICES,LLC
    9   818 West 7th Street, Suite 930
        Los Angeles, California 90017
   10
   11   IKEA US RETAIL LLC
        818 West 7111 Street, Suite 930
   12   Los Angeles, California 90017

   13   IKEA DISTRIBUTION SERVICES INC.
        818 West 7'h Street, Suite 930
   14
        Los Angeles, California 90017
   15
        [X]    BY U.S. MAIL
   16          As follows: I am "readily familiar" with the firm's practice of collection and processing
               correspondence for mailing. Under that practice, it would be deposited with U.S. Postal
   17          Service on that day with postage thereon fully prepaid at Los Angeles, California in the
   18          ordinary course of business. I am aware that on motion of the party served, service is
               presumed invalid if postal cancellation date or postage meter date is more than one day
   19          after date of deposit for mailing an affidavit.

   20 [X]      STATE
               I declare under penalty of perjury under the laws of the State of California that the above
   21          is true and correct.
   22
               Executed on September 4,2020, at Glendale, California.
   23
   24
   25
   26
   27
   28

                                                        2
                                                                                             EXH F pg. 8
                                               PROOF OF SERVICE                                    81
        Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 82 of 93 Page ID #:82

                                                                                                                               POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and address):                                      FOR COURT USE ONLY
 Edwin Aiwazian SBN 232943
 Lawyers For Justice, PC
 410 Arden Ave 203
 Glendale, CA 91203
 TELEPHONE NO.: (818)265-1020                   FAX NO.(Optional):
     E-MAIL ADDRESS (Optional):
     ATTORNEY FOR (Name):         Plaintiff Kyree Wilson


 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
    STREET ADDRESS: 111 N Hill St.
    MAILING ADDRESS: 111 N Hill St.
   CITY AND ZIP CODE: Los Angeles, CA 90012
       BRANCH NAME: SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

          PLAINTIFF/PETITIONER: Kyree Wilson, individually, and on behalf of other members of             CASE NUMBER:
                                the general public similarly situated                                     20STCV32154

      DEFENDANT/RESPONDENT: Ikea North America Services, LLC, an unknown business entity

                                                                                                          Ref. No. or File No.:
                                   PROOF OF SERVICE SUMMONS                                               Ikea


                                         (Separate proof of service is required for each party served.)
1.       At the time of service I was at least 18 years of age and not a party to this action.

2.       I served copies of: Summons; Complaint; Civil Case Cover Sheet; Notice of Case Assignment; ADR Information Packet;
                             Voluntary Efficient Litigation Stipulation;

3.       a. Party served (specify name ofparty as shown on documents served): Ikea US Retail LLC, an unknown business entity

         b.            Person (other than the party in item 3a)served on behalf of an entity or as an authorized agent(and not a person under
                       item 5b on whom substituted service was made)(specify name and relationship to the party named in item 3a):
                       Gabriela Sanchez, Authorized to Accept Service for CT Corporation System

4.       Address where the party was served: 818 W 7th St Ste 930 Los Angeles, CA 90017

5.       I served the party (check proper box)
         a. - 1    1 by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
                     service of process for the party (1) on:9/2/2020(2)at:01:36 PM
         b. - 1    1 by substituted service. On: at: I left the documents listed in item 2 with or in the presence of(name and title or
                     relationship to person indicated in item 3):



                                  (business)a person at least 18 years of age apparently in charge at the office or usual place of business of
                     (1) ri       the person to be served. I informed him or her of the general nature of the papers.
                     (2) r      1 (home)a competent member of the household (at least 18 years of age)at the dweling house or usual
                                  place of abode of the party. I informed him or her of the general nature of the papers.
                     (3) 1---1 (physical address unknown)a person of at least 18 years of age apparently in charge at the usual
                               mailing address of the person to be served, other than a United States Postal Service post office box. I
                               informed him or her of the general nature of the papers.
                     (4)       I thereafter mailed (by first-class, postage prepaid)copies of the documents to the person to be.served at
                               the place where the copies were left(Code Civ. Proc.,§ 415.20). I mailed the documents:
                               on:                       from:                        or -
                                                                                         1     1 a declaration of mailing is attached.


                                                                                                                                        Page lot 3

 POS-010[Rev. January 1,2001]                         PROOF OF SERVICE OF SUMMONS
                                                                                                                             Invoice # 3815102-02

                                                                                                                                    EXH F pg. 9
                                                                                                                                            82
         Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 83 of 93 Page ID #:83


    PLAINTIFF/PETITIONER:                      Kyree Wilson, individually, and on behalf of other members of     CASE NUMBER:
                                               the general public similarly situated                             20STCV32154
    DEFENDANT/RESPONDENT:                      Ikea North America Services, LLC, an unknown business
                                               entity


                        (5) n I attach a declaration of diligence stating actions taken first to attempt personal service.

 5.       C.              by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                          address shown in item 4, by first-class mail, postage prepaid,
                        (1) on:                                                        (2) from:
                        (3)       ri with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope
                                          addressed to me.(Attach completed Notice and Acknowledgment of Receipt.)(Code Civ. Proc.,§ 415.30.)
                        (4)      [--] to an address outside California with return receipt requested.(Code Civ. Proc.,§415.40.)
          d. n by other means (specify means ofservice and authorizing code section):

               -
               I 1 Additional page describing service Is attached.

6.        The "Notice to the Person Served"(on the summons)was completed as follows:
          a.
                El   as an individual defendant.
          b.
                El as the person sued under the fictitious name of(specify):
          C.              as occupant.
          d.              On behalf of (specify): Ikea US Retail LLC, an unknown business entity
               CI         under the following Code of Civil Procedure section:
                                        416.10 (corporation)                               415.95(business organization, form unknown)
                           El
                           C=1          416.20 (defunct corporation)                       416.60(minor)
                                        416.30 (joint stock company/association)           416.70(ward or conservatee)

                           El 416.40(association or partnership)                           416.90 (authorized person)

                           El 416.50(public entity)                                        415.46 (occupant)
                                                                                           other:
7.        Person who served papers
          a. Name: Bruce Anderson
          b. Address: 7162 Beverly Blvd Suite 508, Los Angeles, CA 90036
          c. Telephone number: 800-687-5003
          d. The fee for service was: $110.00
          e. lam:
             (1) El not a registered California process server.
               (2)               exemptfrom registration under Business and Professions Code section 22350(b).
               (3)   El          a registered California process server:
                                (i)      FT owner         ri      employee         -
                                                                                   1 1 Independent contractor.
                                (ii)    Registration No.: 2016038577
                                (iii)   County: Los Angeles




P05-010(Rev. January I. 2007)
                                                               PROOF OF SERVICE OF SUMMONS                                               Page 2 of 3

                                                                                                                              Invoice#: 3815102-02
                                                                                                                                   EXH F pg. 10
                                                                                                                                              83
         Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 84 of 93 Page ID #:84

  PLAINTIFF/PETITIONER:                Kyree Wilson, individually, and on behalf of other members of         CASE NUMBER:
                                       the general public similarly situated                                 20S1CV32154
  DEFENDANT/RESPONDENT:                Ikea North America Services, LLC, an unknown business
                                       entity




               I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                         0
                                                                             Bruce Anderson                         Date: 09/04/2020




POS-010[Rev. January 1, 2007j                         PROOF OF SERVICE OF SUMMONS                                                         Page 3 of 3

                                                                                                                              Invoice#: 3815102-02
                                                                                                                                      EXH F pg. 11
                                                                                                                                              84
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 85 of 93 Page ID #:85


                              1                                       PROOF OF SERVICE
                             2 STATE OF
                                        CALIFORNIA, COUNTY OF LOS ANGELES
                              3
                                         I am employed in the County of Los Angeles, State of California. I am over the age of 18
                             4    and not a party to the within action. My business address is 410 West Arden Avenue, Suite 203,
                                  Glendale, California 91203.
                              5
                                         On September 4, 2020, I served the foregoing document(s) described as: PROOF OF
                             6    SERVICE OF SUMMONS [IKEA US RETAIL, LLC] on interested parties in this action by
                              7   placing a true and correct copy thereof, enclosed in a sealed envelope addressed as follows:

                              8   IKEA NORTH AMERICA SERVICES,LLC
                                  818 West 7th Street, Suite 930
                              9   Los Angeles, California 90017
                             10
                                  IKEA US RETAIL LLC
                             11   818 West 7th Street, Suite 930
                                  Los Angeles, California 90017
                             12
Glendale, California 91203




                                  IKEA DISTRIBUTION SERVICES INC.
                             13   818 West 7th Street, Suite 930
                                  Los Angeles, California 90017
                             14
                             15   [X]    BY U.S. MAIL
                                         As follows: I am "readily familiar" with the firm's practice of collection and processing
                             16          correspondence for mailing. Under that practice, it would be deposited with U.S. Postal
                                         Service on that day with postage thereon fully prepaid at Los Angeles, California in the
                             17          ordinary course of business. I am aware that on motion of the party served, service is
                             18          presumed invalid if postal cancellation date or postage meter date is more than one day
                                         after date of deposit for mailing an affidavit.
                             19
                                  [X]    STATE
                             20          I declare under penalty of perjury under the laws of the State of California that the above
                                         is true and correct.
                             21

                             22          Executed on September 4, 2020, at Glendale, California.

                             23
                             24
                             25

                             26
                             27
                             28

                                                                                 2
                                                                                                                     EXH F pg. 12
                                                                        PROOF OF SERVICE                                     85
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 86 of 93 Page ID #:86

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                     Central District, Spring Street Courthouse, Department 6

 20STCV32154                                                                     September 1, 2020
 KYREE WILSON, et al. vs IKEA NORTH AMERICA                                             12:24 PM
 SERVICES, LLC, et al.


 Judicial Officer: None                             CSR: None
 Judicial Assistant: M. Fregoso                     ERM: None
 Courtroom Assistant: None                          Deputy Sheriff: None

 APPEARANCES:
 For Plaintiff(s): No Appearances
 For Defendant(s): No Appearances




 NATURE OF PROCEEDINGS: Court Order

 By this order, the Court determines this case to be Complex according to Rule 3.400 of the
 California Rules of Court. The Clerk’s Office has randomly assigned this case to this department
 for all purposes.

 By this order, the Court stays the case, except for service of the Summons and Complaint. The
 stay continues at least until the Initial Status Conference. Initial Status Conference is set for
 10/26/2020 at 02:00 PM in this department. At least 10 days prior to the Initial Status
 Conference, counsel for all parties must discuss the issues set forth in the Initial Status
 Conference Order issued this date. The Initial Status Conference Order is to help the Court and
 the parties manage this complex case by developing an orderly schedule for briefing, discovery,
 and court hearings. The parties are informally encouraged to exchange documents and
 information as may be useful for case evaluation.

 Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
 of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
 Appearance shall not constitute a waiver of any substantive or procedural challenge to the
 Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
 Code of Civil Procedure Section 170.6.

 Counsel are directed to access the following link for information on procedures in the Complex
 litigation Program courtrooms: http://www.lacourt.org/division/civil/CI0037.aspx

 Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
 thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
 fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
 or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
                                            Minute Order                                 Page 1 of 2
                                                                                                EXH F pg. 13
                                                                                                        86
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 87 of 93 Page ID #:87

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                      Central District, Spring Street Courthouse, Department 6

 20STCV32154                                                                     September 1, 2020
 KYREE WILSON, et al. vs IKEA NORTH AMERICA                                             12:24 PM
 SERVICES, LLC, et al.


 Judicial Officer: None                            CSR: None
 Judicial Assistant: M. Fregoso                    ERM: None
 Courtroom Assistant: None                         Deputy Sheriff: None

 dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
 All such fees are ordered to be paid to Los Angeles Superior Court, within 10 days of service of
 this order.

 The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
 Order on all parties forthwith and file a Proof of Service in this department within 7 days of
 service.

 PARTIES SHALL FILE A JOINT INITIAL STATUS CONFERENCE REPORT 7 DAYS
 PRIOR TO THE INITIAL STATUS CONFERENCE.

 Certificate of Mailing is attached.




                                           Minute Order                                  Page 2 of 2
                                                                                               EXH F pg. 14
                                                                                                       87
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 88 of 93 Page ID #:88




                                                                         EXH F pg. 15
                                                                                 88
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 89 of 93 Page ID #:89




                                                                         EXH F pg. 16
                                                                                 89
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 90 of 93 Page ID #:90




                                                                         EXH F pg. 17
                                                                                 90
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 91 of 93 Page ID #:91




                                                                         EXH F pg. 18
                                                                                 91
Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 92 of 93 Page ID #:92




                                                                         EXH F pg. 19
                                                                                 92
   Case 2:20-cv-09075-CJC-AS Document 1 Filed 10/02/20 Page 93 of 93 Page ID #:93
                                                                                    Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Kyree Wilson et al
DEFENDANT/RESPONDENT:
Ikea North America Services, LLC et al
                                                                              CASE NUMBER:
                        CERTIFICATE OF MAILING                                20STCV32154

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order) of 09/01/2020, Initial
Status Conference Order upon each party or counsel named below by placing the document for collection
and mailing so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as
shown below with the postage thereon fully prepaid, in accordance with standard court practices.




    Edwin Aiwazian
    LAWYERS for JUSTICE, PC
    410 Arden Ave
    Ste 203
    Glendale, CA 91203




                                                       Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 09/1/2020                                       By:   M. Fregoso
                                                             Deputy Clerk

                                                                                                             EXH F pg. 20
                                                                                                                      93
                                       CERTIFICATE OF MAILING
